        Case 6:20-cv-01163-MTK              Document 387-7          Filed 07/07/25        Page 1 of 71




T 208.867.2027                        CHARLES R. HONTS, PH. D.                                         F 208.426.4386



          June 26, 2024




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          Re: Polygraph Examination of Nicholas J. McGuffin Conducted by Detective Mark D. Ranger

          Counselors,

          At your request, I conducted a quality control review of a psychophysiological detection of
          deception examination conducted on Nicholas J. McGuffin by Detective Mark D. Ranger, a
          polygraph operator Oregon State Police at the Roseburg Patrol Office. The reviewed polygraph
          examination (hereinafter referred to as the McGuffin Examination) addressed issues concerning the
          disappearance and/or death of Leah Freeman. The McGuffin Examination was conducted at the
          Coquille Police Department facility on July 5, 2000.

          My Employment, Qualifications and Recognitions

        1. A true and current copy of my Curriculum Vitae is provided with this report as
           Attachment A. My Curriculum Vitae accurately provides a list of my education, training,
           academic appointments, professional licensure, publications, presentations, and a history
           of my sworn appearances as an expert witness.

        2. Employment:

             2.1. I am Professor Emeritus of Psychological Science at Boise State University, 1910
                  University Drive, Boise, Idaho 83725. I retired from full time active employment at
                  Boise State University in July of 2021. Prior to my retirement, Boise State



                                   3105 SWEETWATER DRIVE, BOISE, ID 83716-5664



                                                                                 Appendix 7, Page 1 of 71
        Case 6:20-cv-01163-MTK                       Document 387-7                Filed 07/07/25             Page 2 of 71



                                                                                                                          JUNE 26, 2024


                     University granted me Emeritus status with the University thus continuing my
                     professional association and privileges with the Department of Psychological
                     Science and Boise State University.

             2.2. In 1976 I was trained as a polygraph examiner at the Backster School of Lie
                  Detection in San Diego, California. In 2010, I completed an American Polygraph
                  Association approved training course in Post-conviction Sex Offender Polygraph
                  Testing. I practiced full time as a polygraph examiner between 1976 and 1980 when I
                  went to graduate school to study Psychology. During my career I was licensed as a
                  Polygraph examiner in a number of states. I maintained an active polygraph practice
                  through the year 2022.

             2.3. Since 1982, I have offered basic instruction and continuing education in a number of
                  venues in the polygraph, law enforcement, psychological and legal professions. Those
                  continuing educational activities include lectures and instruction on polygraphs, child
                  witnesses, memory, interrogation methods and confession phenomena. Those
                  educational activities include lectures and instruction with: the United States
                  Department of Defense Polygraph Institute (now known as the National Center for
                  Credibility Assessment. NCCA), the United States Secret Service, the Federal Bureau
                  of Investigation and the Canadian Police College. On invitation, I have given other
                  continuing education lectures and instruction to professionals in the United States and
                  in a number of other countries. Those other countries include Canada, China,
                  Columbia, Costa Rica, Ecuador, Honduras, Israel, Mexico, Norway, Peru, Panama,
                  Poland, Sweden and the Netherlands. During the last 20 years, the area of
                  interrogations, confessions, and false confessions took on a larger portion of my
                  research, continuing education, and consulting efforts.

             2.4. I also have a private consulting practice where I offer services as a consulting
                  and/or testifying expert to the legal profession. I have appeared as an expert
                  witness on the polygraph, interrogation techniques, false confessions, and on my
                  other areas of research expertise in a number of courts of law in the United States
                  and elsewhere. Through my research, practice and teaching I am highly familiar
                  with professional polygraph and interrogation practices and standards in the
                  United States and around the world.1

             2.5. Education: I hold a Ph.D. degree in Psychology with a concentration in human
                  experimental psychology. My central area of study and research is in the sub-

1 Throughout this report I will reference two types of standards. In my usage, the term professional standards refers to professional

practices to which the profession agrees. Such professional practice standards in the polygraph profession are promulgated by the
schools that train examiners, by polygraph examiner organizations, and by scholarly publications in the field. As such professional
standards represent a consensus of some group of examiners about how testing should be done. However, the existence of
professional standards nether requires nor necessarily implies that those standards are supported by scientific research. The term
evidence-based best practices indicates that there is published peer-reviewed scientific research that has validated the use of certain
practices by showing that those practice produce a reproducible level of accuracy.


                                                                 PAGE 2



                                                                                                 Appendix 7, Page 2 of 71
Case 6:20-cv-01163-MTK              Document 387-7         Filed 07/07/25       Page 3 of 71



                                                                                             JUNE 26, 2024


         discipline of Psychology known as Psychology and Law. Polygraph testing in
         particular was a focus over the length of my academic career. I did research on
         jury behavior, eyewitness identification, eyewitness memory, assessing the
         credibility of child witnesses, interrogations and confessions. I published a
         number of peer-reviewed scientific papers, book chapters, and training materials
         on the polygraph and on the other areas of my expertise. I gave a large number of
         papers and invited addresses at scientific and professional meetings around the
         world.

3. Recognitions:

   3.1. I am a Charter Member and Fellow (elected in 2006) of the Association for
        Psychological Science, the largest professional association of psychological
        scientists in the world.

   3.2. In 2009, I was awarded The John E. Reid Memorial Award for distinguished
        achievements in polygraph research, teaching or writing by the American Polygraph
        Association.

   3.3. In 2014, I was awarded The Harry Detwiler Award for contributions to the
        polygraph profession in Latin America through advances in practice and research
        by the Asociación Latinoamericana de Poligrafistas.

 Materials Provided For Review:

5. I have reviewed the following:

   5.1. Oregon State Incident Report, Page 1 of 4, showing Incident # (CAD#) SP00-255176. The
        document was stamped with the date JUL 28 2000.

   5.2. Oregon State Police Polygraph Examination, GHQ Case #00-255176 (3 Pages). This
        document appears to be Detective Ranger’s report of the McGuffin Examination conducted
        on July 5, 2000.

   5.3. Images of polygraph charts (10 pages) collected with an Axciton polygraph instrument,
        Bates Numbers 005529 through 005538. The 10 pages displayed two charts with a Peak of
        Tensions format and four charts in the format of a comparison question test.

   5.4. Chart Question Lists (2 Pages, Bates Numbers 005539 and 005540) apparently generated
        with the Axciton software.

   5.5. A second copy of Item 5.1, above, this version with Bates Numbers 005541 through
        005543.




                                            PAGE 3



                                                                      Appendix 7, Page 3 of 71
Case 6:20-cv-01163-MTK           Document 387-7          Filed 07/07/25        Page 4 of 71



                                                                                        JUNE 26, 2024


  5.6. A copy of three pages (without identification) of handwritten notes with Bates
       numbers 005544, 005545, and 005546.

  5.7. A one-page copy of an Advise of Rights - Statement form, Bates Number 005547

  5.8. A one-page copy of a State of Oregon, Department of State Police,
       Polygraph Examination Form, Detective Mark D. Ranger, Bates Number
       005548.

  5.9. A one-page copy of an Oregon State Police, Polygraph Quality Control
       Examination, Numerical Evaluation Worksheet, showing the handwritten name
       Nick McGuffin.

  5.10. One unidentified hand written sheet showing numbers and checkmarks, Bates
        Number 005550.

  5.11. 2000-07-05 CPD Report Bartley Deceptive.pdf This file opened as a 10-page
        document opening with a cover sheet, Supplemental Report, Coquille Police
        Department, Incident No. 00001905, Bates Numbers 001882 through 001891.

  5.12. 2000-07-05 OSP Ranger, Polygraph - Bartley, Brent.pdf This file opened as a four
        page document. The first page was identified with Incident# (CAD#) SP00-255176,
        and was stamped with the date, Jul 28, 2000. The remaining pages were identified as,
        Oregon State Police Polygraph Examination, GHQ Case #00-255176. Those three
        pages were a report of a polygraph examination of Brent W. Bartley, conducted by
        Mark D. Ranger on July 5, 2000.

  5.14. 2000-07-27 OSP Ranger, Polygraph - Bartley, Brent.pdf This file opened as a three
        page document. The first page was identified with Incident# (CAD#) SP00-255176,
        and was stamped with the date, Aug 9, 2000. The remaining two pages were identified
        as, Oregon State Police Polygraph Examination, GHQ Case #00-255176. Those two
        pages were a report of a second polygraph examination of Brent W. Bartley,
        conducted by Mark D. Ranger on July 27, 2000.

  5.15. 2000-07-28 Affidavit for Search Warrant.pdf This file opened as a four page
        document, Bates Numbers 000056 through 000059. The document was captioned,
        In the Circuit Court of the State of Oregon for Coos County, State of Oregon vs.
        Nicholas James McGuffin, DOB 04/25/1982, Supplemental Affidavit for search
        Warrant. the affidavit was subscribed and sworn on July 28, 2000.

  5.16. OSP038338.pdf This file opened to 39 pages of documents listing Mark D.
        Ranger’s law enforcement training. The most recent dating on these documents
        was 04/21/2006.




                                           PAGE 4



                                                                    Appendix 7, Page 4 of 71
        Case 6:20-cv-01163-MTK                      Document 387-7                 Filed 07/07/25             Page 5 of 71



                                                                                                                         JUNE 26, 2024


             5.17. OSP038377.pdf This file opened to a single page document titled, Oregon State
                   Police Personnel Records for Ranger, Mark Dumbeck. The document shows a
                   handwritten Retirement Date of 03/31/2006.

          My Evaluation Of The Polygraph Examination:

         6. My evaluation of an examination normally consists of three qualitatively different analyses.
            First, I quantitatively evaluate the physiological data from the examination with numerical
            scoring system that is scientifically validated and represents a scientific best practice. Then
            I evaluate the critical elements of the examination including, but not limited to, test
            structure, semantics of the critical relevant and comparison questions, and the adequacy of
            the instrumentation, collection of physiological data, and the original examiner’s evaluation
            of the data. Finally, I evaluate the conduct of the examination in light of current scientific
            best practice.

             6.1. Quantitative Review: It is my standard practice in reviewing examinations conducted
                  by other examiners to evaluate the physiological data before reviewing any of the
                  other materials. Although I prefer to review the physiological data in their original
                  digital form, the original digital data were not available for the McGuffin
                  Examination. I conducted my evaluation of the McGuffin Examination data by
                  reviewing the photocopied images noted above at 5.3. My examination of the
                  physiological recordings revealed that the following physiological measures were
                  recorded: two channels of respiration, electrodermal activity, and relative blood
                  pressure. Notably there were no sensors for vasomotor activity or for detecting
                  physical motion by the subject, although sensors were available for both parameters at
                  test time of the McGuffin Examination. Moreover, motion sensors were generally
                  available from the polygraph instrument manufacturers and widely used at that time.
                  At the time of the McGuffin Examination, most polygraph training programs
                  considered motion sensor as a necessary component and a critical element of standard
                  practice. In my own practice, I began using movement sensors in the mid 1980s. The
                  available physiological data recordings were of adequate quality with minimal
                  artifacts and no indication of overt distortion. In my opinion they were of adequate
                  quality for conducting a numerical scoring analysis and they would have met minimal
                  professional standards in the year 2000.

                  6.1.1. The first two charts were in an atypical format for what was used at the time
                         (and for what is used now). Although stimulation tests are commonly conducted
                         as a first chart, it would be very unusual to conduct two stimulation tests.2 In
                         order to determine the nature of these two charts I consulted the question lists

2 See, Raskin, D. C., & Honts, C. R. (2002). The comparison question test. In M. Kleiner (Ed.), Handbook of  polygraph testing. London:
Academic (1-49) for a description of the Stimulation Test and its value in conducting forensic comparison question tests. Though this
book was published after the McGuffin Examination, the discussion of the Simulation Test and its value was equally applicable to
professional standards as they existed in 2000 and in years before.


                                                                PAGE 5



                                                                                                Appendix 7, Page 5 of 71
        Case 6:20-cv-01163-MTK                        Document 387-7                  Filed 07/07/25              Page 6 of 71



                                                                                                                              JUNE 26, 2024


                            (5.4 above) and the polygraph report (5.1 above). From those documents I
                            determined that the first two charts of the McGuffin Examination appear to be a
                            Peak of Tension Test (POT). However, that placement was extremely unusual as
                            the POT is usually conducted after a failed comparison question test where it is
                            then used to guide the pending interrogation of the deceptive subject. In my 47+
                            years of experience with polygraph testing I have never seen a polygraph test
                            conducted in this fashion. Moreover, there is no scientifically standardized/
                            validated method for evaluating a POT for a direct assessment of credibility. I
                            did review the two POT charts and did not see anything notable about them. It is
                            my opinion that the POT charts in the McGuffin Examination are without
                            probative value for any purpose.

                  6.1.2. The subsequent four charts took the form of a comparison question test (CQT)
                         with three relevant questions and three comparison questions. The questions
                         were ordered in the format commonly referred to in the polygraph profession as
                         a Zone Comparison Test with the test used in the McGuffin Examination being
                         quite similar to the variant known as the Federal Zone Comparison Test.3 With
                         minor variations, this CQT test format was, and still is, in common use in the
                         polygraph profession. Moreover, this test format was the subject of a large body
                         of published scientific research and was found to have high validity. However,
                         some of the filler (unscored/unevaluated) questions in the McGuffin
                         Examination are atypical and inconsistent with the US Federal, Utah, and
                         Backster School variations of their Zone Comparison Test. The questions were
                         repeated four times while physiological data were collected. I would note that
                         professional standard practice is to collect data from three repetitions of the
                         questions and then score. Additional data are then collected if the scores after
                         three repetitions are inconclusive. However, despite these discrepancies it is
                         my opinion that the physiological recordings in the McGuffin Examination
                         met the polygraph profession's standards and were of sufficient quality to
                         submit to a numerical scoring analysis.

                  6.1.3. I evaluated the physiological recordings using the numerical scoring system
                         developed and scientifically validated at the University of Utah. Peer-reviewed
                         scientific research shows the Utah scoring system to be one of the most accurate
                         of the numerical scorings systems currently available, and it was the scoring
                         system with the strongest scientific validation at the time of the McGuffin
                         Examination.4

3 Department of   Defense Polygraph Institute (2006). Test Data Analysis: DoDPI Numerical Evaluation Scoring System, p. 41.
4 Brian G. Bell, David C. Raskin, Charles R. Honts, & John C. Kircher, The Utah Numerical Scoring System, 28 Polygraph 1 (1999).

Also see the review by David C. Raskin & Charles R. Honts, The Comparison Question Test. In Murray Kleiner (Ed.), Handbook of
Polygraph Testing (2002). As before, though this review was published after the McGuffin Examination, the discussion of the Simulation
Test and its value was equally applicable to professional standards as they existed in 2000 and in years before.


                                                                   PAGE 6



                                                                                                    Appendix 7, Page 6 of 71
        Case 6:20-cv-01163-MTK                        Document 387-7                 Filed 07/07/25           Page 7 of 71



                                                                                                                         JUNE 26, 2024


                  6.1.4. The three relevant questions in this examination were:5

                             R5: DY (Did you) physically do something to Leah that resulted in her death?
                             Indicated Answer “No”

                             R7: DO YH (Did you have) any direct involvement in Leah’s
                             disappearance? Indicated Answered “No”

                             R9: HY (Have you) talked to Leah since last Wednesday night after 9PM?
                             Indicated Answered “No”

                  6.1.5. Research has shown that the most accurate way to evaluate a polygraph examination
                         is to consider only the total scores.6 With the numerical scoring system developed at
                         the University of Utah, a total numerical score of +6 or greater indicates truthfulness.
                         A total numerical score of -6 or less indicates deception. Total numerical scores
                         between -6 and +6 are considered inconclusive outcomes. My evaluation of the three
                         question repetitions in the McGuffin Examination resulted in a total score of +17.
                         That score indicates truthfulness to the relevant questions of the examination. My
                         score sheet is provided as Attachment B to this report.

              6.2. Detective Ranger’s Scoring Departs from Professional and Scientific Polygraph
                   Standards: After scoring the charts from the McGuffin Examination I examined
                   Detective Ranger’s scoresheet (5.9 above, Bates Number 005549). Although that
                   score sheet does not specify what scoring system was used, it appears to be the US
                   Federal three position scoring method.7 Research conducted by the US Government
                   and others shows this test data analysis method to be quite inaccurate with an extreme
                   bias against actually truthful examinees. In a recent analysis, only 17% of the actually
                   truthful subjects scored with this test data analysis produced truthful results.8 That
                   review concluded “The results reported here indicate that the practice of using the
                   Federal 3-position scoring with Spot decision rules is a pernicious practice that is
                   highly biased against the actually innocent and should be abandoned as having been
                   scientifically demonstrated to be invalid.”9 In contrast, my scoring with an evidence-



5 The relevant questions were obtained from 5.2 above, Bates Number 005539. The printout contained shortcut abbreviations for some

words in the critical questions. I have indicated my best approximation for the abbreviated words; a task necessitated because there is
no recording of the actual questioning. No answers were indicated on the printed question list. The answers shown above were
obtained from the chart markings made by the examiner. (5.3 above, Bates Numbers 005531 and 005532)
6 See the recent review, Honts, C. R. (2024. The innocent at risk: The dark side of certain polygraph practices.   Polygraph and
Forensic Credibility Assessment: A Journal of Science and Field Practice, 53(1), 1-15.
7 Supra Note 3 for a detailed description of the criteria used for assigning scores and for decision rules.


8 Supra Note 6.


9 Supra Note 6, at p. 6.




                                                                  PAGE 7



                                                                                                   Appendix 7, Page 7 of 71
        Case 6:20-cv-01163-MTK                 Document 387-7           Filed 07/07/25         Page 8 of 71



                                                                                                        JUNE 26, 2024


                    based best practice scoring system produced a truthful total score of +17 while
                    Detective Ranger reported a deceptive total score of -29.

                  6.2.1. In my opinion, Detective Ranger’s scoring was done with a scoring method
                         that is shown in published research to be highly biased against actually
                         innocent subjects and as such it should not be given any probative weight for
                         any purpose.

                  6.2.2. Moreover, it is my opinion that even accounting for the bias in the scoring
                         system used by Detective Ranger, his extreme negative scores cannot be
                         justified and are very inconsistent with professional and scientific based
                         standards. For example, my own evidence-based best practice scoring produced
                         strong truthful scores with Mr. McGuffin’s physiological data. I converted my
                         seven position scores to three position scores and using the Federal test data
                         analysis I still had a truthful outcome where all the relevant questions had
                         positive spot scores and with a total score of +12. In other words, there is no
                         professionally or scientifically accepted standard for polygraph scoring that
                         would have justified the scoring documented by Detective Ranger. Even under a
                         scoring system that is known to be biased, Detective Ranger’s scores still lack
                         any professional or scientific basis.

                  6.2.3. It is my opinion that Detective Ranger’s scoring of the McGuffin’s
                         physiological data is consistent with gross incompetence as a polygraph
                         examiner, or a deliberate manipulation of the data to falsely reflect some
                         sort of guilt or deception in the McGuffin Examination when a minimally
                         competent or honest reporting of the polygraph data would have reflected
                         innocence and a lack of deception in the McGuffin Examination.

             6.3. Critical Element Evaluation: After completing my analysis of the physiological
                  data, I evaluated the other materials from the McGuffin Examination. Since there
                  was no recording of the McGuffin Examination, my analysis here focused on the
                  critical Relevant and Comparison Questions of the Examination. My analysis is
                  limited to commentary on the documentary evidence that was available. As a result
                  of that evaluation, I reached the following conclusions:

                  6.3.1.   The Relevant Questions addressed different aspects (sometimes referred to
                           as facets in the polygraph profession) of the disappearance and death of
                           Leah. The use of multiple aspects was, and is, within the limits of accepted
                           professional practice. Research shows that such test can be accurate as long
                           as the decision is based only on the total score.10 In my opinion, the wording
                           of the Relevant Question was, and is, within the parameters of standard
                           professional practice.

10 Supra Note 6 and its included references.




                                                         PAGE 8



                                                                                    Appendix 7, Page 8 of 71
        Case 6:20-cv-01163-MTK                       Document 387-7                 Filed 07/07/25             Page 9 of 71



                                                                                                                          JUNE 26, 2024


                   6.3.2. The Comparison Questions of the McGuffin Examination took the form of the
                          CQT variant known as the probable-lie comparison question and they were
                          worded as follows.11

                                  C4. BWYTM BYE (Besides what you told me did you ever) lie to anyone
                                  to protect yourself? Indicated Answer “No”

                                  C6. BTY DYE (Before this year did you ever) lie to the police?
                                  Indicated Answer “No”

                                  C8. BTY DYE (Before this year did you ever) commit a crime the police
                                  don’t know about? Indicated Answer “No”

                   6.3.3. The Handbook of Polygraph Testing12 gives the following description of nature
                          of probable lie questions. Probable-lie questions deal with acts that are similar
                          to the issue of the investigation. However, they are more general in nature,
                          deliberately vague, and cover long periods of time in the life history of the
                          subject. Virtually every criminal suspect has difficulty in unequivocally
                          answering them with a simple, truthful “NO.” An example of a probable-lie
                          question in an examination regarding a robbery is "Prior to 1987. did you ever
                          take something that did not belong to you?" The PLT includes two or three
                          comparison questions that are reviewed with the subject after the relevant
                          questions have been discussed and reviewed, and they are presented in a
                          manner designed to encourage the subject to answer them with a denial. (p. 15)

                       6.3.3.1.      In the McGuffin examination, comparison questions C4 and C6 address
                                     issues of lying, while the relevant questions address aspects of a
                                     disappearance and death/murder. In my opinion Comparison Questions
                                     C4 and C6 fail to meet the basic requirement for comparison questions to
                                     address acts that are similar to the issue of the investigation. Moreover,
                                     those comparison questions are exceptionally weak as they address a
                                     common behavior that often has no negative associations for the person
                                     being examined (as a potential lie teller).13

                       6.3.3.2.      In my opinion C8 is also weak. Although C8 addresses a criminal
                                     behavior, it does not meet the face validity requirement for
                                     comparison questions that virtually any criminal suspect should have
                                     difficulty in unequivocally answering the question with a simple

11 I used the conventions described in Supra Note 5 to derive the wording and answers to the comparison question


12 Supra Note 2.


13 See DePaulo, B. M., Kashy, D. A., Kirkendol, S. E., Wyer, M. M., & Epstein J. A. (1996). Lying in everyday life. Journal of Personality
and Social Psychology, 70(5), 979-995. DePaulo, B. M., & Rosenthal, R. (1979). Telling lies. Journal of Personality and Social Psychology,
37(10), 1713-1722.


                                                                 PAGE 9



                                                                                                 Appendix 7, Page 9 of 71
       Case 6:20-cv-01163-MTK                        Document 387-7                  Filed 07/07/25            Page 10 of 71



                                                                                                                            JUNE 26, 2024


                                      truthful “No”. Depending upon how Detective Ranger presented
                                      question C8, it might or might not be likely that the average
                                      polygraph subject would have difficulty in answering CE with a
                                      simple truthful “No”. In my opinion, especially without a recording,
                                      we have no evidence demonstrating that the presentation of C8 was
                                      adequate under professional and scientific standards.

                       6.3.3.3.       In my opinion the form of the Comparison Questions of the McGuffin
                                      Examination does not conform to the current professional practice or
                                      the evidence-based best practices. Moreover, the Comparison
                                      Questions of the McGuffin examination did not meet the
                                      professional or evidence-base practice standards at the time of the
                                      McGuffin Examination.14

                   6.3.4. In summary, it is my opinion, although the Relevant Questions of the
                          McGuffin Examination conformed to standard practices in the
                          polygraph profession, the Comparison Questions did not.

                   6.3.5. Moreover, it is my opinion that the deficiencies in the McGuffin
                          Examination comparison questions strongly biased the examination
                          toward a false positive error15 with any truthful subject.

              6.4. Evaluation of the Conduct of the Examination: Since no video recording was
                   available, an evaluation of the conduct of the McGuffin Examination by Detective
                   Ranger is not possible. However, at the time of the McGuffin Examination there were
                   professional and evidence-based best practice standards for conducting CQT
                   examinations that were readily available to practicing polygraph examiners through
                   publications16 and continuing education seminars for polygraph examiners.17
                   Moreover, in my opinion, by the year 2000 continuing education was considered
                   necessary to maintain professional competence in the polygraph profession. For
                   purposes of this report, I believe that it will be useful to describe what takes places in

14 Supra note 2. Also see, Raskin, D. C. (1989). Polygraph techniques for the detection of   deception. In D. C. Raskin Ed., Psychological
Methods in Criminal Investigation and Evidence, New York: Springer, 247-296, at 254-255.
15 With regard to polygraph testing a false positive error occurs when an actually truthful person is reported as deceptive on the test by
the polygraph examiner.
16 See Supra Note 2. A review of the References in the Raskin and Honts chapter reveals that none of them post-dated the year 2000.
Thus, the vast majority of the source work for Raskin and Honts was readily available in the published literature well before the
McGuffin Examination. Moreover, a review containing a description of the evidence-based best practices methods for conducting a
CQT was published by Raskin in 1989, Supra Note 9.
17 See my CV for references to continuing education courses, lectures and presentations, where evidence-based best practices for
conducting a CQT that pre-date the year 2000, In my CV examples can be found: p. 29, No. 111, p. 37-40 with 17 seminars/lectures/
workshops attended by polygraph examiners, p. 46, University of Utah Annual Workshop for the continuing education of polygraph
examiners which I helped organize and where I lectured 1983 through 1987 inclusive, p. 47, listing Other Professional Instruction for
polygraph examiners.


                                                                  PAGE 10



                                                                                                Appendix 7, Page 10 of 71
        Case 6:20-cv-01163-MTK                          Document 387-7                   Filed 07/07/25         Page 11 of 71



                                                                                                                       JUNE 26, 2024


                      evidence-based best practice CQT examination. The subsequent sections provide a
                      description of the professional and evidence-based practice testing methods that I
                      would have been looking for in the conduct of the McGuffin Examination had a
                      recording been available.18

                   6.4.1. Pre-Test Interview. The initial portion of the polygraph is known as the Pre-
                          test Interview. The Handbook of Polygraph Testing describes the Pre-test Interview
                          as a low-key approach that is conducted as an interview, not as an
                          interrogation.19 The Pre-test Interview has a number of phases.

                        6.4.1.1.       Discussion of Rights and Examination Parameters. Usually, the Pre-
                                       test Interview begins with a discussion of the roles of the polygraph
                                       examiner and the subject. As part of a process of informed consent, the
                                       subject is informed of the issues on which the subject’s credibility will
                                       be assessed and about the general nature of the polygraph examination.
                                       The subject will also be informed as to who will have access to the
                                       results of the test when it is completed. The subject’s rights under the
                                       law will also be discussed. The subject will then be asked to read, and
                                       then if in agreement, he or she will be asked to sign a release form to
                                       allow for start of the polygraph examination. That release that may or
                                       may not include a waiver of legal rights and the inplications of the
                                       presence or absence of a waiver of the subject’s legal rights should be
                                       discussed.

                        6.4.1.2.       Assessment of Subject Suitability for Testing. A critical task
                                       required of the polygraph examiner is to make an initial assessment and
                                       decision about the subject’s suitability for taking a polygraph tests.20 A
                                       model policy for the assessment of polygraph subject suitability
                                       received final approval by the American Polygraph Association in 2021
                                       (hereinafter, the Model Policy) although various versions of
                                       recommend practice had been available for many years.21 As part of
                                       this assessment during the pre-test interview the examiner asks a
                                       number of open ended general background questions in order to assess
                                       the subject’s level of education and ability to communicate and thus
                                       provide information and guidance about question wording. Physical


18 Note that the methods described here are essentially the same as those I learned when entered the PhD program at the University of
Utah in 1983 and which were being taught at the University of Utah Annual Workshop for polygraph examiners in 1983.
19 Supra note 2, at 14-15.


20 Nelson, R., (2012). Introduction to the Model Policy for Examinee Suitability, Polygraph, 41(4), 203-204.


21 The Board of the American Polygraph Association (2012). Model Policy for the Evaluation of Examinee Suitability for Polygraph
Testing. Polygraph & Forensic Credibility Assessment: A Journal of Science and Field Practice, 50(2) 106–108


                                                                     PAGE 11



                                                                                                       Appendix 7, Page 11 of 71
       Case 6:20-cv-01163-MTK                     Document 387-7           Filed 07/07/25         Page 12 of 71



                                                                                                            JUNE 26, 2024


                                    and mental health are also discussed. The health discussions in
                                    combination with the subject’s reported educational and work history
                                    are all used by the examiner to make a decision about the subject’s
                                    suitability for testing. Since polygraph examiners are neither medical
                                    nor mental health professionals, if any suitability issues are noted or
                                    suspected, then the examiner is ethically compelled to immediately stop
                                    the examination and require that formal assessments and approval by
                                    the appropriate medical or mental health professionals be obtained
                                    before proceeding.

                         6.4.1.3.   Free Narrative. If the subject is found to be suitable for polygraph
                                    testing, the pre-test interview continues with the examiner asking open-
                                    ended questions intended to elicit a free narrative about the events
                                    under investigation. This conversation is done as an interview, not an
                                    interrogation. That is, the interview is neither directive nor
                                    confrontational. The subject’s statements are not challenged although
                                    the examiner is allowed to ask non-confrontation clarifying questions
                                    after the free narrative is completed. As is noted in the Handbook of
                                    Polygraph Testing22 the goal of that process is to clarify ambiguities or
                                    misunderstandings that might interfere with conducting a valid test.
                                    Another goal of the pre-test interview is to reduce the subject’s general
                                    anxiety and to establish an atmosphere of objectivity, competence and
                                    trust. Confrontational challenges or interrogation of any sort are
                                    anathema to conducting a valid pre-test interview in a CQT intended to
                                    assess credibility.

                         6.4.1.4.   Question Review and Stimulation Test. After the pre-test interview
                                    phase is completed, the examiner then describes the instrument and the
                                    process of testing. Test questions are formulated in cooperation with the
                                    subject. The development of the relevant and comparison questions is
                                    one of the more critical parts of the pre-test interview as the test will lack
                                    validity if the relevant question are not clear and unambiguous and/or if
                                    the comparison question are not appropriate in form and then
                                    introduced with the proper context and methods. The sensors and the test
                                    process are then described in detail and the sensors are placed on the
                                    subject’s body. Usually a stimulation test is conducted at this point that is
                                    used as a demonstration to the subject that the polygraph can distinguish
                                    truthful from deceptive responses.23 Apparently no stimulation test was
                                    conducted in the McGuffin Examination.


22 Supra Note 2 at 14.


23 This is sometimes called an Acquaintance Test, Supra Note 2 at 15.




                                                              PAGE 12



                                                                                      Appendix 7, Page 12 of 71
Case 6:20-cv-01163-MTK             Document 387-7            Filed 07/07/25        Page 13 of 71



                                                                                             JUNE 26, 2024


           6.4.1.5.   Data Collection. The test questions will then be presented to the subject
                      and the subject’s physiology will be recorded. Professional and evidence-
                      based best practice standards require a minimum of three complete
                      repetitions of the test questions be collected. If there are problems with
                      data collection, data from additional repetitions of the questions can be
                      collected up to a total of five. In scientifically validated CQTs the
                      presentation order of the relevant and comparison questions is rotated in
                      each repetition so that the subject does anticipate which question will be
                      asked next. The examiner then scores the physiological data and relates
                      the outcome to the subject and asks if the subject has any questions or
                      comments. The polygraph test is over at that point.

           6.4.1.6.   Interrogation. Sometimes, a polygraph test may then transition into
                      an interrogation with the polygraph examiner becoming an
                      interrogator. However, interrogation should never be primary
                      reason for conducting a polygraph examination.

 Summary

 The McGuffin Examination was a specific issue comparison question test that used the
 Probable-lie Variant of the Zone Comparison Test. That test is a member of the family of
 polygraph tests known as Comparison Questions tests. The test used in the McGuffin
 Examination is considered by the American Polygraph Association as validated for evidentiary
 testing if conducted according to the professional standards of the polygraph profession and in
 a manner that was representative of the scientific data used to validate the Probable-lie Variant
 of the Zone Comparison Test.

 Because the McGuffin Examination was not recorded, there is no evidence to demonstrate
 whether the examination was conducted according to professional or evidence-based best
 practices. However, a set of acceptable quality physiological recordings was produced. My
 scoring of the McGuffin Examination with the Utah Scoring System produced an outcome of
 Truthful with regard to the three relevant questions of the examination. My review of the
 available materials indicated that Detective Ranger scored the McGuffin Examination with a
 test data analysis method that is known to be highly biased against subjects who are answering
 the relevant questions truthfully. As noted above, published research shows that only about one
 in five actually truthfully persons produce a truthful outcome with the scoring methods used by
 Detective Ranger. Moreover, even when I modeled my numerical scoring to the rules
 apparently used by Detection Ranger, I still produced a truthful outcome.




                                             PAGE 13



                                                                       Appendix 7, Page 13 of 71
Case 6:20-cv-01163-MTK             Document 387-7            Filed 07/07/25         Page 14 of 71



                                                                                              JUNE 26, 2024


 Based upon the materials I have reviewed and the analysis I conducted, my opinions can be
 summarized as:

 Detective Rangers’ evaluation of this examination is consistent with either gross
 incompetence or a deliberate manipulation of the results that departed from accepted
 professional and scientific polygraph standards and falsely indicated Mr. McGuffin was
 being deceptive when he answered the examination questions.

 Based upon professional and scientific polygraph standards, Mr. McGuffin provided
 responses that indicated truthfulness when he answered the relevant questions in the
 McGuffin Examination and denied any involvement in the disappearance and death of
 Leah Freeman.

 The opinions stated in this report are held to a reasonable degree of scientific and professional
 certainty.

 Sincerely,




 Charles Robert Honts, Ph. D.
 Detection of Deception Examiner
 Emeritus Professor of Psychological Science

 Attachments: (A) Curriculum Vitae of Charles R. Honts, Ph. D.
              (B) Honts Numerical Score Sheet




                                              PAGE 14



                                                                        Appendix 7, Page 14 of 71
     Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25      Page 15 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

Mail:                                                       Email:
Charles R. Honts, Ph.D.                                     Honts@mac.com
3105 E Sweetwater Drive
Boise ID 83716-5664
WWW: http://charleshontsphd.com                             Updated: June 17, 2024

Education:

Ph.D., Psychology (Emphasis Human Experimental), University of Utah, Salt Lake City, Utah,
Awarded, June 1986.

M.S., Psychology (Emphasis Human Experimental), Virginia Polytechnic Institute and State
University, Blacksburg, VA. Awarded, June 1982.

B.S., Psychology, Virginia Polytechnic Institute and State University, Blacksburg, VA.
Awarded, June 1974.

Faculty Appointments:

Boise State University, Boise, Idaho.
Professor of Psychological Science, Emeritus                                     2021
Professor of Psychological Science, Retired July 2021                            1995 to 2021
Department Head                                                                  2000 to 2003
Full Member of the Graduate Faculty

University of North Dakota, Grand Forks.
Associate Professor of Psychology, Full Member of the Graduate Faculty           1990 to 1995
Promoted from Assistant Professor in 1993 (3rd year)

University of Utah, Salt Lake City
Adjunct Assistant Professor, Psychology Department,                              1987 to 1988

Jacksonville State University, Jacksonville, Alabama.
Adjunct Professor, College of Graduate Studies and Continuing Education          1989 to 1990

Professional Service and Awards:

Recipient of The Harry Detwiler Award for contributions to the polygraph profession in Latin
America through advances in practice and research. Asociación Latinoamericana de Poligrafistas,
November 8, 2014, Cancún, Mexico.

Recipient of The John E. Reid Memorial Award for distinguished achievements in polygraph
research, teaching or writing. American Polygraph Association, August 6, 2009, Nashville,
Tennessee.

President-Elect, President, Immediate Past-President, and Member of the Executive Committee of
the Rocky Mountain Psychological Association, 2004-2007.

Charter Member and Fellow (Elected 2006) of the Association for Psychological Science.

                                               1 of 56




                                                                     Appendix 7, Page 15 of 71
     Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25      Page 16 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

Professional Employment:

Professor, Department of Psychological Science,                                 1998 to 2021
Department Head                                                                 2000 to 2003
Full Member of the Graduate Faculty
Promoted from Associate to Full Professor                                       1998
Associate Professor of Psychology                                               1995 to 1998
Boise State University, Boise, Idaho.

Associate Professor of Psychology, Psychology Department,                       1993 to 1995
University of North Dakota, Grand Forks.

Assistant Professor of Psychology, Psychology Department,                       1990 to 1993
University of North Dakota, Grand Forks.

Research Psychologist - Research Team Leader (GS-14)                            1988 to 1990
Department of Defense Polygraph Institute - Research Division
Fort McClellan, Alabama.

Research Assistant (4 years) / Associate (2 years)                              1982 to 1988
Department of Psychology, University of Utah, Salt Lake City
Projects: A Study of the Validity of Polygraph Examinations in
Criminal Investigations. Funded by the National Institute of Justice
The Effects of Physical and Mental Countermeasures on the
Physiological Detection of Deception. Funded by the
Department of Psychology, University of Utah.

Teaching Assistant, Department of Psychology                                    1981 to 1982
Virginia Polytechnic Institute and State University, Blacksburg, VA.

Detection of Deception Examiner, Various Employers.                             1976 to 1980

Specialized Training:

The Backster School of Lie Detection (Polygraph Examiner's Course) San Diego, California
   (September - October 1976).

Workshop on the Assessment of Truthfulness of Alleged Victims of Sexual Offenders Through
  Statement Reality Analysis. Professor Udo Undeutsch, Instructor. Salt Lake City, Utah
  (March, 1985).

Interdisciplinary Seminar on Interviewing and Assessing Credibility of Alleged Victims and
   Perpetrators in Sexual Abuse Cases. Scottsdale, Arizona (April, 1986).

Contracting Officer's Representative Course. Army Logistics Management College, Fort Lee, Virginia
   (June 1988).

Interview and Assessment Techniques in Child Sexual Abuse Cases. Seminar sponsored by
   University of Utah, Department of Psychology, and Division of Continuing Education.
   (May, 1991).

                                               2 of 56




                                                                       Appendix 7, Page 16 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25       Page 17 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

Post Conviction Sexual Offender Testing. Forty hour course conducted at the New England
   Polygraph Institute. Instruction provided by Raymond Nelson an American Polygraph
   Association Primary PCSOT Instructor. Course conducted June 28, 2010 through July 2, 2010,
   inclusive. Certificate dated, July 2, 2010.

Thesis And Dissertation:

Honts, C. R. (1982). The effects of simple physical countermeasures on the physiological detection of
  deception. Unpublished master's thesis, Virginia Polytechnic Institute and State University,
  Blacksburg.

Honts, C. R. (1986). Countermeasures and the physiological detection of deception: A
  psychophysiological analysis. Dissertation Abstracts International, 47, 1761B. (Order No.
  DA8616081)

Professional Publications and Reports:

2024

1.   Honts, C. R. (2024). The innocent at risk: The dark side of certain polygraph practices.
       Polygraph and Forensic Credibility Assessment: A Journal of Science and Field Practice,
       53(1), 1-15.
2021

2.   Honts, C. R., Thurber, S., & Handler, M. (2021). A Comprehensive meta-analysis of the
       Comparison Question Polygraph Test, Applied Cognitive Psychology, 35(2), 411-427. First
       published online: 18 December 2020, https://doi.org/10.1002/acp.3779
3.   Cutler, B. L., Neuschatz, J. S., & Honts, C. R. (2021). Three faces of eyewitness psychology
        and expert testimony, The Champion, 45(1), 46-50.

2020

4.   Cutler, B. L., Neuschatz, J. S., & Honts, C. R. (2020). An overview of expert psychological
        testimony in false confession cases. The Champion, 44(5), 30-35.
5.   Denault, V. , Plusquellec, P. , Jupe, L. M. , St-Yves, M. , Dunbar, N. E. , Hartwig, M., Sporer, S.
       L., Rioux-Turcotte, J., Jarry, J., Walsh, D., Otgaar, H., Viziteu, A., Talwar, V., Keatley, D.
       A., Blandón-Gitlin, I., Townson, C., Deslauriers-Varin, N., Lilienfeld, S. O., Patterson, M.
       L. ... Koppen, P. J. V. (2020). The Analysis of Nonverbal Communication: The Dangers of
       Pseudoscience in Security and Justice Contexts. Anuario de Psicología Jurídica, 30, 1 - 12.
       https://doi.org/10.5093/apj2019a9 (Spanish language version of Denault et al., 2019).
6.   Nelson, R., Austen, D., & Honts, C. R. (2020). Reply to Chip Morgan’s Letter to the Editor (re:
        Personal vs. Personalized DLCs). American Polygaph Association Magazine, 53(6) 51-60
2019

7.   Honts, C. R., & Thurber, S. (2019). Analyzing Iacono’s thought experiment about polygraph
       field studies: Reason or fantasy? Polygraph & Forensic Credibility Assessment: A Journal of
       Science and Field Practice, 48(2), 76-86.

                                                3 of 56




                                                                       Appendix 7, Page 17 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 18 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

8.    Honts, C. R., Forrest, K., & Stepanescu, A. (2019). Polygraph examiners unable to discriminate
        true and false juvenile confessions. Polygraph & Forensic Credibility Assessment: A Journal
        of Science and Field Practice, 48(1), 1-9.
9.    Raskin, D. C., Kircher, J. C., Honts, C. R., & Horowitz, S. W. (2019). A Study of the Validity of
         Polygraph Examinations in Criminal Investigations. Final Report to the National Institute of
         Justice, Grant Number 85-IJ-CX-0400. Polygraph & Forensic Credibility Assessment: A
         Journal of Science and Field Practice, 48(1), 10-39.

2018

10.   Handler, M., Honts, C. R., & Goodson, W. (2018). Una revisión de la literatura sombre las
        contramedidas poligráficas y la técnica de preguntas comparativas. El Poligrafista
        Internacional, 12, 3-18. Spanish language republication of: Handler, M., Honts, C. R., &
        Goodson, W. (2015). A literature review of polygraph countermeasures and the Comparison
        Question Technique. Polygraph, 44(2), 129-139.
11.   Honts, C. R., Handler, M., Shaw, P., & Gougler, M. (2018). La respuesta del canal vasomotor
        en al seamen de preguntas comparativas. El Poligrafista Internacional, 12, 57-73. Spanish
        language republication of: Honts, C. R., Handler, M., Shaw, P., & Gougler, M. (2015). The
        vasomotor response in the comparison question test. Polygraph, 44, 62-78.
12.   Poltavski, D., Van Eck, R., Winger, Austin T., Honts, C. R. (2018). Using a polygraph system
         for evaluation of social desirability response bias in self-report measures of aggression.
         Applied Psychophysiology and Biofeedback. 38(3). Online First, September 2018,
         https://doi.org/10.1007/s10484-018-9414-4

2016


13.   Handler, M., & Honts, C. R. (2016). Screening survival analysis - understanding Base rates,
        accuracies & successive hurdles employment screening with complementary technologies.
        The Police Polygraphist Digest. January, 8-15.
14.   Handler, M., Honts, C. R., & Goodson, W. (2016). A literature review of Polygraph
        Countermeasures and the Comparison Question Technique. Reprint from Polygraph, 44(2),
        129-139, in The Police Polygraphist Digest. January, 22-32.

2015

15.   Handler, M., Honts, C. R., & Blalock, B., (2015). A literature review of polygraph
        countermeasures and the comparison question technique. APA magazine: The magazine for
        the polygraph professional, 48(3), 81-96.
16.   Handler, M., Honts, C. R., & Goodson, W. (2015). A literature review of Polygraph
        Countermeasures and the Comparison Question Technique. Polygraph, 44(2), 129-139.
17.   Honts, C. R. (2015). A new paradigm for the study of malintent. Polygraph, 44, 187-192.
18.   Honts, C. R., Handler, M., Shaw, P., & Gougler, M. (2015). The vasomotor response in the
        comparison question test. Polygraph, 44, 62-78.
19.   Honts, C. R., & Reavy, R., (2015). The comparison question polygraph test: A contrast of
        methods and scoring. Physiology and Behavior, 143, 15-26. Published online 24 February
        2015, doi:10.1016/j.physbeh.2015.02.028

                                                4 of 56




                                                                       Appendix 7, Page 18 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 19 of 71



Charles R. Honts, Ph. D.                                                          Curriculum Vitae

20.   Raskin, D. C., Honts, C. R., Nelson, R., & Handler, M. (2015). Monte carlo estimates of the
         validity of four relevant question polygraph examinations. Polygraph, 44, 1-27.

2014

21.   Goodson, W., Honts, C. R., Handler, M., Nelson, R., Hicks, M., & Westerman, D. (2014). Pre-
        test breathing instructions increase perceptions of respiratory countermeasures.
        Polygraph, 43, 114-122.
22.   Honts, C. R. (2014). Countermeasures and credibility assessment. In, Raskin, D. C.,
        Honts, C. R., & Kircher, J. C. Credibility assessment: Scientific research and applications:
        First Edition (pp. 131-158). Oxford, UK: Academic Press. http://dx.doi.org/10.1016/
        B978-0-12-394433-7.00003-8
23.   Honts, C. R., & Handler, M. (2014). Scoring respiration when using directed lie comparison
        questions. Polygraph, 43, 71-78.
24.   Honts, C. R., & Handler, M. (2014). Information gain of the relevant irrelevant technique.
        Polygraph, 43, 137-147.
25.   Honts, C. R. & Hartwig, M. (2014). Credibility assessment at portals. In, Raskin, D. C., Honts,
        C. R., & Kircher, J. C. Credibility assessment: Scientific research and applications. (pp.
        37-61). Oxford, UK: Academic Press. http://dx.doi.org/10.1016/
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26.   Honts, C. R., Kassin S. M. & Craig, R. (2014). ‘I’d know a false confession if I saw one’: A
        constructive replication with juveniles. Psychology, Crime and Law, 20, 695-704.
        (published online 15 November 2013). http://dx.doi.org/10.1080/1068316X.2013.854792
27.   Raskin, D. C., Honts, C. R., & Kircher, J. C. (2014). Credibility assessment: Scientific research
         and applications. Oxford, UK: Academic Press. ISBN: 978-0-12-394433-7 (ebook version
         available online 17 December 2013).

2013

28.   Handler, M., Honts, C. R., & Nelson, R. (2013). Information gain of the directed lie screening
        test. Polygraph, 42, 192-202.
29.   Honts, C. R. (2013). Deception detection, in A. Jamieson and A.A. Moenssens (Eds.) Wiley
        Encyclopedia of Forensic Science, John Wiley: Chichester. http://DOI:
        10.1002/9780470061589.fsa495.pub2. Available online 17th June 2013.
30.   Honts, C. R., & Handler M. (2013). A case study of the validity of the Arther Examination
        Procedures in a criminal case with DNA confirmation. Polygraph, 42, 61-71.

2011

31.   Honts, C. R., & Kircher, J. C. (2011). Research methods for psychophysiological deception
        detection. In Rosenfeld, B., & Penrod, S. D., (Eds.) Research Methods in Forensic
        Psychology, (pp. 105-121) Hoboken, NJ, USA: Wiley.




                                                 5 of 56




                                                                        Appendix 7, Page 19 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25       Page 20 of 71



Charles R. Honts, Ph. D.                                                          Curriculum Vitae

2010

32.   Handler, M., Nelson, R., Krapohl, D., Honts, C. (2010). An EDA primer for polygraph
        examiners. Polygraph, 39, 68-108 .
33.   Handler, M., Nelson, R., Krapohl, D., Honts, C. (2010). An EDA primer for polygraph
        examiners. The Police Polygraph Digest, January, 9-35. A revision and republication of the
        article originally published in Polygraph.

2009

34.   Handler, M. D., Honts, C. R., Krapohl, D. J., Nelson, R., & Griffin, S. (2009). Integration of pre-
        employment polygraph screening into the police selection process. Journal of Police and
        Criminal Psychology, 24, 69-86. (Published online 20 May 2009.)
35.   Honts, C. R., (2009). Deception detection technology, in, Jamieson, A., & Moenssens, A.,
        (Eds.) Wiley Encyclopedia of Forensic Science. West Sussex, UK: Wiley.
36.   Honts, C. R., Hartwig, M., Kleinman, S. M., & Meissner, C. A. (2009). Credibility assessment at
        portals: Portals committee report. Final report of the Portals Committee to the Defense
        Academy for Credibility Assessment / U. S. Defense Intelligence Agency.
37.   Honts, C. R., & Reavy, R., (2009). Effects of Comparison Question Type and Between Test
        Stimulation on the Validity of Comparison Question Test. Final Progress Report on
        Contract No. W911Nf-07-1-0670, submitted to the Defense Academy of Credibility
        Assessment (DACA). Boise State University. Available: http://www.dtic.mil/dtic/tr/
        fulltext/u2/a505303.pdf
38.   Honts, C. R., & Schweinle, W., (2009). Information gain of psychophysiological detection of
        deception in forensic and screening settings. Applied Psychophysiology and Biofeedback,
        34, 161-172. (Available online July 2009)
39.   Webb, A. K., Honts, C. R., Kircher, J. C., Bernhardt, P. C., and Cook, A., E. (2009).
        Effectiveness of pupil diameter in probable-lie comparison question tests for deception.
        Legal and Criminological Psychology, 14, 279-292, (Available online June 2009).

2008

40.   Handler, M. D., & Honts, C. R. (2008). You can run, but you can’t hide: A critical look at the
        fight or flight response in psychophysiological detection of deception. European Polygraph,
        2, 193-207.
41.   Honts, C. R., (2008). Credibility assessment at portals. Report of the Credibility Assessment
        Research Summit Portal Committee, to the U. S. Department of Defense.
42.   Honts, C. R. (2008). Polygraph and polygraph techniques. In B. L. Cutler (Editor),
        Encyclopedia of psychology and law (Volume 2), (pp. 596-600). Thousand Oaks, CA: Sage
        Publications.
43.   Honts, C. R., Raskin, D. C., & Kircher, J. C. (2008). Scientific Status: The case for polygraph
        tests. In, D. L. Faigman, M. J. Saks, J. Sanders, and E. Cheng (Eds.) Modern scientific
        evidence: The law and science of expert testimony (Volume 5): 2008-2009 Edition.
        Thompson West: Eagan, Minnesota. Reprint of #49 and reprinted without revision
        biennially through 2018.


                                                 6 of 56




                                                                        Appendix 7, Page 20 of 71
       Case 6:20-cv-01163-MTK         Document 387-7        Filed 07/07/25      Page 21 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

44.   Voas, B., Johnson, M., Turrisi, R., Taylor, D., Honts, C. R., & Nelson, L. (2008). Bringing
         alcohol on campus to raise money: Impact on student drinking and drinking problems.
         Addiction, 103, 940-950.

2007

45.   Handler, M. D., & Honts, C. R. (2007). Psychophysiological mechanisms in deception
        detection: A theoretical overview. Polygraph 36, 221-232.
46.   Honts, C. R. & Alloway, W. (2007). Information does not affect the validity of a comparison
        question test. Legal And Criminological Psychology, 12, 311-312. (Available online in 2006)
47.   Honts, C. R. & Amato, S. (2007). Automation of a screening polygraph test increases accuracy.
        Psychology, Crime & Law, 13, 187-199.

2006

48.   Honts, C. R. (2006). Recent theoretical and applied findings for autonomic psychophysiological
        deception detection. International Journal Of Psychophysiology 61, 304-305. (Abstract)

2005

49.   Honts, C. R. (2005). Rocky mountain psychological association: Report of the 75th annual
        meeting. American Psychologist, 60, 1022-1024.
50.   Honts, C. R., Raskin, D. C., & Kircher, J. C. (2005). Scientific Status: The case for polygraph
        tests. In, D. L. Faigman, D. Kaye, M. J. Saks, & J. Sanders (Eds.) Modern scientific
        evidence: The law and science of expert testimony (Volume 4): Forensics 2005-2006 Edition.
        Thompson West: Eagan, Minnesota, (571-605) Reprint of #49.

2004

51.   Honts, C. R. (2004). The psychophysiological detection of deception, in P. Granhag and L.
        Strömwall (Eds.) Detection of deception in forensic contexts. London: Cambridge University
        Press 103-123.
52.   Honts, C. R., Amato, S., & Gordon, A. (2004). Effects of outside issues on the Control
        Question Test. The Journal of General Psychology, 151, 53-74.
53.   Thurber, S., Bonynge, E., & Honts, C. R. (2004). Barron's revised ego-strength scale as a
         measure of test taking style: Relationships with the validity scales of the MMPI-2.
         Counseling and Clinical Psychology Journal, 1, 119-124.

2003

54.    Honts, C. R. (2003). Participant perceptions support the rationale of the comparison
         questions test for the psychophysiological detection of deception. Psychophysiology, 40,
         S48. (Abstract)

2002

55.   Honts, C. R., & Amato, S. (2002). Countermeasures, in M. Kleiner (Ed.), Handbook of
        polygraph testing. London: Academic (251-264).
                                               7 of 56




                                                                      Appendix 7, Page 21 of 71
       Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25       Page 22 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

56.   Honts, C. R., Raskin, D. C., & Kircher, J. C. (2002). The scientific status of research on
        polygraph techniques: The case for polygraph tests. In, D. L. Faigman, D. Kaye, M. J.
        Saks, & J. Sanders (Eds.) Modern scientific evidence: The law and science of expert
        testimony (Volume 2). West: St. Paul Minnesota, (446-483). Also reprinted in D. L.
        Faigman, D. Kaye, M. J. Saks, & J. Sanders (Eds.) Science in the Law: Social and
        Behavioral Sciences Issue, American Casebook Series, West Group: St. Paul, Minnesota
        598-634.
57.   Otter-Henderson, K., Honts, C. R., & Amato, S. L. (2002). Spontaneous countermeasures
         during polygraph examinations: An apparent exercise in futility. Polygraph, 31, 9-14.
58.   Raskin, D. C., & Honts, C. R. (2002). The comparison question test. In M. Kleiner (Ed.),
         Handbook of polygraph testing. London: Academic (1-49).
59.   Thurber, S., Snow, M., & Honts, C. R. (2002). The Zung Self-Rating Depression Scale:
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                                                8 of 56




                                                                       Appendix 7, Page 22 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25       Page 23 of 71



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                                                 9 of 56




                                                                        Appendix 7, Page 23 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 24 of 71



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                                                10 of 56




                                                                       Appendix 7, Page 24 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 25 of 71



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                                                11 of 56




                                                                       Appendix 7, Page 25 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25       Page 26 of 71



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                                               12 of 56




                                                                       Appendix 7, Page 26 of 71
       Case 6:20-cv-01163-MTK          Document 387-7          Filed 07/07/25      Page 27 of 71



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                                                13 of 56




                                                                        Appendix 7, Page 27 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 28 of 71



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                                                14 of 56




                                                                       Appendix 7, Page 28 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 29 of 71



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1982

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Grants and Research Contracts:

Principal/Co-Principal Investigator:

Effects of Comparison Question Type and Between Test Stimulation on the Validity of the Comparison
    Question Test. Research grant originated with the Defense Academy for Credibility Assessment
    and issued through the Army Research Office (Awarded, 28 September 2007, closed 20
    September 2009). Grant amount, $299,537.

Credibility Assessment Research Initiative. Three years of funding as a directed appropriation to
   Boise State University under Research and Development Defense-Wide (RDDW), Line #171.
   Appropriation amount, $3,700,000. Directed appropriations approved in 2005, 2005, 2007. The
   Department of Defense did not awarded as per the language of the appropriation.

Campuses selling alcohol: Profit or problem? Subcontract from the Pacific Institute for Research and
  Evaluation (PIRE) for Year 5 of National Institute of Alcohol Abuse and Alcoholism (NIAAA) Grant
  #5 R37 AA012972-03, CFDA # 93.273. Subcontract amount, $107,828.

Juvenile Confessions: Stimulus Materials Collection. Dean’s Research Award. College of Social
   Sciences and Public Affairs, Boise State University, October 2004. Award amount, $600.

Campuses selling alcohol: Profit or problem? Subcontract from the Pacific Institute for Research and
  Evaluation (PIRE) for Year 4 of National Institute of Alcohol Abuse and Alcoholism (NIAAA) Grant
  #5 R37 AA012972-03, CFDA # 93.273. Subcontract amount, $149,895.

A Cautionary note for the teaching of psychology and law: Media images may be more persuasive
   than data. Faculty Teaching Award (Travel), Boise State University, March, 2004. Award
   Amount, $500.00.

Rocky Mountain Psychological Association Executive Committee. Dean’s Service Award (Travel),
   College of Social Sciences and Public Affairs, Boise State University, March, 2004. Award
   Amount, $200.00.

Scientific Attitudes Regarding the Science and Validity of Polygraph Testing. Faculty Research Award
   (Travel), Boise State University, September 2001. Award amount $500.00.

Truth or just bias: The strange mix of psychology, law and the detection of deception. Faculty
   Research Award (Travel), Boise State University, April 2001. Award amount $500.00.

Outside issues dramatically reduce the accuracy of polygraph tests given to innocent individuals.
   Faculty Research Award (Travel) Boise State University, September 1999. Award amount
   $400.00.


                                               15 of 56




                                                                      Appendix 7, Page 29 of 71
     Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25       Page 30 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

Human v. machine: Research examining the automation of polygraph testing. Faculty Research
  Award (Travel), Boise State University, March 1999. Award amount $400.00.

Survey of Professional Knowledge and Opinions Regarding Polygraph Testing. Co-principal
   investigator Susan Amato. Faculty Research Award, Boise State University, November 1998.
   Award amount $500.00.

Survey of Professional Knowledge and Opinions Regarding Polygraph Testing. Co-principal
   investigator Susan Amato. Undergraduate Research Initiative Award, Boise State University,
   November 1998. Award amount $500.00.

The Polygraph after Daubert. Faculty Research Award (Travel), Boise State University, March 1998.
   Award amount $400.00.

Validity of Outside-Issue Questions in the Control Question Test (DoDPI97-P-0012). Co-principal
   investigator, Susan Amato. Research grant originated with the Department of Defense
   Polygraph Institute, issued through the Office of Naval Research, 9 March 1998. Award amount
   $129,042.50.

The Automated Polygraph Examination (APE). Co-principal investigator, Susan Amato. Research
   Contract with the United States Federal Government. Start date: 11 December 97. Contract
   Amount, $132,000.00.

Theory Development and Psychophysiological Credibility Assessment: An Application of Structural
   Equation Modeling to Increase Basic Understanding of a Technique Already in Use in the Field.
   Research Associate award from Boise State University. Awarded 1 June 1996. Award amount,
   $3,900.00.

Assessing the Credibility of the Child Witness. Travel award from the Faculty Research Committee
   of the University of North Dakota to support paper presentations at the Society for Research in
   Child Development meetings. Awarded, 13 February 1995, Award amount $383.00.

Research on the Creation of False Memory and the Misinformation Effect. Grant No. 4394-0403 from
   ND EPSCoR, the National Science Foundation's Experimental Program to Stimulate Competitive
   Research, April 1994. Grant Amount, $1500.

Quantitative Techniques in the Psychophysiological Detection of Deception. Summer 1993 Research
  Professorship awarded by the Graduate School of the University of North Dakota, February
  1993. Stipend amount, $5,400.

Credibility Assessment of Verbatim Statements (CAVS). Grant No. N00014-92-J-4006 from
   PERSEREC through the Office of Naval Research. Awarded 1 September 1992. Grant Amount
   $19,959.

Bootstrap Computer Decision Making for Polygraph Examinations. Grant No. N00014-92-J-1794
   from PERSEREC through the Office of Naval Research. Awarded 1 April 1992. Grant amount:
   $19,994.

A Laboratory Study of the Validity of the Reliability and Validity of Statement Validity Assessment.
   Research award from the Faculty Research Committee of the University of North Dakota.
   Awarded 28 October 1991. Award amount $500.00.


                                               16 of 56




                                                                       Appendix 7, Page 30 of 71
       Case 6:20-cv-01163-MTK        Document 387-7        Filed 07/07/25      Page 31 of 71



Charles R. Honts, Ph. D.                                                      Curriculum Vitae

The Hired Gun Cross Examination Tactic Reduced Mock Jurors' Perception of Expert Witness'
   Credibility. Travel award from the Faculty Research Committee of the University of North
   Dakota to support paper presentation. Awarded 28 October 1991, Award amount $398.00

Field Validity Study of Canadian Police College Polygraph Technique, Contract No. M9010-1-F107/01-
    ST. Science Branch, Supply and Services Canada. Awarded 18 September 1991. Contract
    Amount, Phase I, $25,400.

Psychophysiology Laboratory Start-Up Award. Award No. 2015-1806-2001. Office of Research and
   Program Development and the College of Arts and Sciences, University of North Dakota.
   Awarded August 1990. Award amount $12,000.

Research Associate:

A Study of the Validity of Polygraph Examinations in Criminal Investigations. Grant Number 85-IJ-
   CX-0400, National Institute of Justice. David C. Raskin, Principal Investigator. Grant amount
   $60,000

Scientific Paper Presentations, Invited Addresses, and Invited Lectures

2024

1.   Honts, C. R. (June, 2024). The Utah Scoring System. Invited seminar given via Zoom to the
       Asociación Internacional de Profesionales en Poligrafía. (International attendees from
       Mexico, Colombia, Ecuador, Guatemala, Panama, Costa Rica, Honduras, and Peru).
2.   Honts, C. R. (April, 2024). The Utah Technique in 2024. Invited seminar given via Zoom to the
       Asociación Internacional de Profesionales en Poligrafía. (International attendees from
       Mexico, Colombia, Ecuador, Guatemala, Panama, Costa Rica, Honduras, Peru and Poland).

2023

3.   Honts, C. R. (November, 2023). Best and Worst Professional Practices in the Context of Our
       Recent Meta-Analysis. Invited seminar given via Zoom to the Asociación Internacional de
       Profesionales en Poligrafía. (International attendees from Mexico, Colombia, Ecuador,
       Guatemala, Panama, Costa Rica, Honduras and Peru). https://youtu.be/BwTvuMXMXaU

2022

4.   Honts, C. R. (April, 2022). Deception and Deception Detection in 2022: The Mature Psychological
       Science That Few People Know. Invited Past-Presidents Address, Rocky Mountain
       Psychological Association. Salt Lake City, Utah.

2021

5.   Honts, C. R. (February, 2021). A Comprehensive Meta-Analysis of the Comparison Question
       Polygraph Test. Invited lecture series at the annual meeting of the Latin American
       Polygraph Association (Asociación Latinoamericana de Poligrafistas). Online presentation
       via Bogota, Colombia.



                                              17 of 56




                                                                    Appendix 7, Page 31 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25     Page 32 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

6.    Honts, C. R. (May, 2021). A Comprehensive Meta-Analysis of the Comparison Question
        Polygraph Test. Lies and Allies Tuesday’s Second Monthly Meeting of the Deception
        Research Society. London, UK (open on Zoom worldwide). Available online on YouTube:
        https://www.youtube.com/channel/UCfx4XicT7M4UgoX17MCBbtA
7.    Honts, C. R. (August, 2021). Evidence Based Practices. Invited lecture at the annual meeting of
        the Canadian Association of Police Polygraphists. Ottawa, Canada. Presented by Zoom.
8.    Honts, C. R. (September, 2021). Best Practices, Invited lecture at the annual meeting of the
        New Jersey Polygraph Association, Atlantic City, New Jersey. Presented by Zoom.
9.    Honts, C. R. (September, 2021). The Utah Approach to the Comparison Question Test. Invited
        lecture at the annual meeting of the New Jersey Polygraph Association, Atlantic City, New
        Jersey. Presented by Zoom.

2020

10.   Honts, C. R. (April, 2020). Deception and Deception Detection in 2020: The Mature Psychological
        Science That Few People Know. Invited Past President’s Address at the annual meeting of
        the Rocky Mountain Psychological Association, Denver, Colorado, United States https://
        static1.squarespace.com/static/57fd4474ff7c508da3ff8889/t/
        5e65cc7f885e6f31aab9a34a/1583729791414/2020+Room+Grid+Schedule.pdf (Conference
        canceled, rescheduled for April, 2022 in Salt Lake City, Utah).
11.   Honts, C. R. (October, 2020). Invited lectures via video link presented for the California
        Association of Polygraph Examiners. Base Rates and Information Gain, Evidence Based
        Best Practices for Forensic Polygraph Tests, and False Confessions and the Polygraph, San
        Diego, California.

2019

12.   Honts, C. R., & Thurber, S. (2019, March). A Comprehensive Meta-Analysis of the Comparison
        Question Polygraph Test. Paper presented at the annual meeting of the American
        Psychology Law Society, Portland, Oregon.

2018

13.   Honts, C. R. (2018, October). Countermeasures in 2018, What We Know and What We Don’t
        Know. Contramedidas en 2018, Lo que Sabemos y lo que No Sabemos. Invited lecture series
        at the annual meeting of the Latin American Polygraph Association (Asociación
        Latinoamericana de Poligrafistas), Lima, Peru.
14.   Honts, C. R. (2018, October). Credibility Assessment in 2018: Myths, Misconceptions, and Meta-
        Analysis. Evaluación de la Credibilidad en 2018: Mitos, Ideas Equivocadas y Meta-Análisis.
        Invited lecture series at the annual meeting of the Latin American Polygraph Association
        (Asociación Latinoamericana de Poligrafistas), Lima, Peru.
15.   Honts, C. R. (2018, October). Can We Detect Lies at the interpersonal level? Podemos Detectar
        Mentiras al Nivel Interpersonal? Invited lecture series at the annual meeting of the Latin
        American Polygraph Association (Asociación Latinoamericana de Poligrafistas), Lima, Peru.
16.   Honts, C. R., Thurber, S., & Handler, M., (2018, October). Polygraph Meta-Analysis. Meta-
        Análisis de Poligrafía. Invited lecture series at the annual meeting of the Latin American
        Polygraph Association (Asociación Latinoamericana de Poligrafistas), Lima, Peru.

                                               18 of 56




                                                                      Appendix 7, Page 32 of 71
       Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25      Page 33 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

17.   Honts, C. R. (2018, May). Credibility Assessment in 2018: Myths, Misconceptions, and Meta-
        Analysis. Invited Keynote Address for Psychology Day 2018, collectively hosted by Central
        Connecticut State University, Eastern Connecticut State University, Western Connecticut
        State University, and Southern Connecticut State University on the campus of Central
        Connecticut State University, New Britain, Connecticut.
18.   Honts, C. R., Schweinle, W. E., Martinez, C., & Bates, B. (2018, April). A mock-crime study of
        oculomotor deception detection. Paper presented at the annual meeting of the Rocky
        Mountain Psychological Association, Denver Colorado.

2017

19.   Honts, C. R. (2017, December). The Polygraph in 2017: A Success of Applied Psychology or a
        Disaster? Psychological Science Seminar Series, Boise State University, Boise ID.
20.   Honts, C. R. (2017, September). The Science of Interviewing. Invited talk given at the
        Association of Certified Fraud Examiners (ACFE), Boise ID.
21.   Honts, C. R. (2017, April). Facts and Fiction About Truth and Deception. TED talk given at
        TEDxBoise, Boise, ID. Available: https://www.youtube.com/watch?v=xD9ZaZR1jG4 and
        http://tedxboise.org/2017-video-library/2017/9/4/facts-and-fiction-about-truth-and-
        deception-charles-honts-tedxboise
22.   Honts, C. R. (2017, March). Current FBI polygraph practices put the innocent at high risk of
        false accusation. Paper presented at the 2017 annual meeting of the American Psychology-
        Law Society, Seattle, Washington.

2016

23.   Honts, C. R. (2016, November). Psychopaths Among Us, Criminals, Winners, or Sometimes
        Both? Invited address at the joint meeting of the Idaho Society of Certified Public
        Accountants and the Association of Certified Fraud Examiners (ACFE), Boise, Idaho.
24.   Honts, C. R. (2016, October). The Science of Forensic Interviewing. (La Ciencia de la Entrevista
        Forense) Invited address given at the annual meeting of the Asociación Latinoamericana de
        Poligrafistas, Bogotá, Colombia.
25.   Honts, C. R. (2016, October). The Vasomotor Response: Old and New Research. (La Respuesta
        del Canal Vasomotor: Investigación Antigua y Nueva) Invited address given at the annual
        meeting of the Asociación Latinoamericana de Poligrafistas, Bogotá, Colombia.
26.   Honts, C. R., and Schweinle, W. (2016, October). Statistical Assessment and Decision Making
        with Polygraph Data (Evaluación Estadística y Toma de Decisiones con Datos Poligráficos)
        Invited address given at the annual meeting of the Asociación Latinoamericana de
        Poligrafistas, Bogotá, Colombia.
27.   Honts, C. R., and Reavy, R. (2016, April). The Construct Validity of the Comparison Question
        Test for Physiological Deception Detection. Paper presented at the annual meeting of the
        Rocky Mountain Psychological Association, Denver, Colorado.
28.   Martinez, C. & Honts, C. (April, 2016). Narcissism and Romantic Relationships: The Mediating
        Role of Social Networking Sites in College Students. Presentation at Rocky Mountain
        Psychological Association Conference, Denver, CO.




                                                19 of 56




                                                                       Appendix 7, Page 33 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 34 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

29.   Martinez, C. & Honts, C. (March, 2016). Narcissism and Romantic Relationships: The Mediating
        Role of Social Networking Sites in College Students. Presentation at the National Conference
        of McNair Scholars at the University of Maryland Scholars, College Park. MD.
30.   Martinez, C. & Honts, C. (March, 2016). Millennials, Narcissism and Social Networking Sites:
        The Mediating Role of Relationship Satisfaction. Presentation at Boise State Undergraduate
        Research Conference, Boise, ID.
31.   Martinez, C., Honts, C. & Hardy, K. (August, 2016). Who Uses Social Networking Sites?
        Exploring Associations Among Personality and the Relationship with Facebook, Twitter, and
        Instagram. Presentation at the Ronald E. McNair Research Symposium, Berkeley, CA.
32.   Martinez, C., Honts, C. & Hardy, K. (July, 2016). Who Uses Social Networking Sites? Exploring
        Associations Among Personality and the Relationship with Facebook, Twitter, and Instagram.
        Presentation at the Idaho Conference of Undergraduate Research, Boise, ID.

2015

33.   Honts, C. R. (2015, March). Credibility assessment and false confessions: The latest from
        psychological science. Invited lecture given at The American Inns of Court CXXX, Boise,
        Idaho. http://home.innsofcourt.org
34.   Honts, C. R. (2015, April). Psychological science and actual innocence: Roles, responsibilities
        and policy making. Convention Kickoff Plenary and Past-President’s Address given at the
        annual meeting of the Rocky Mountain Psychological Association, Boise, Idaho.
35.   Honts, C. R. (2015, May). The vasomotor response: New research. Invited lecture given at the
        annual meeting of New Jersey Polygraphists, Inc., Atlantic City, New Jersey.
36.   Honts, C. R. (2015, May). The computer analysis of polygraph data. Invited lecture given at
        the annual meeting of New Jersey Polygraphists, Inc., Atlantic City, New Jersey.
37.   Honts, C. R. (2015, May). Base rates and information gain. Invited lecture given at the annual
        meeting of New Jersey Polygraphists, Inc., Atlantic City, New Jersey.
38.   Honts, C. R. (2015, May). Interrogations, interviews, false confessions and actual innocence:
        New approaches from psychological science. Invited address given at the annual meeting of
        New Jersey Polygraphists, Inc., Atlantic City, New Jersey.
39.   Honts, C. R. (2015, September). The Wizard’s 1st Rule is alive and well in the polygraph
        profession! Invited lecture given a the annual meeting of the American Polygraph
        Association, Chicago, Illinois.
40.   Honts, C. R. (2015, September). The vasomotor response: Old and new research. Invited
        lecture given a the annual meeting of the American Polygraph Association, Chicago,
        Illinois.
41.   Honts, C. R., & Schweinle, W. (2015, September). Statistical assessment & decision making
        with polygraph data. Invited lecture given a the annual meeting of the American Polygraph
        Association, Chicago, Illinois.
42.   Honts, C. R., & Schweinle, W. (2015, September). Base rates and information gain. Invited
        lecture given a the annual meeting of the American Polygraph Association, Chicago,
        Illinois.
43.   Honts, C. R. (2015, November) Interviews, interrogations, and confessions: Scientifically valid
        and invalid approaches. Invited guest lecture at the Academy of Polygraph Science basic
        polygraph examiners’ course. Boise, Idaho.
                                                20 of 56




                                                                       Appendix 7, Page 34 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 35 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

2014

44.   Bertulis, K. M., Yasuhara, K., & Honts, C. (2014, September) False confession identification
         accuracy in groups of college students. Poster presented at the annual Summer
         Undergraduate Research Fellowship Research Day, West Haven, CT.
45.   Duren, G., Connor, J., Skogsberg, K., & Honts, C. R. (2014, May). Concussions and college
        students: What do they know? Paper presented at the 2014 annual meeting of the
        Midwestern Psychological Association in Chicago, Illinois.
46.   Honts, C. R. (2014, May). Computer analysis of polygraph data. Invited lecture given at the
        American Association of Police Polygraphists, Annual Seminar, Las Vegas, Nevada.
47.   Honts, C. R. (2014, May). Base rates and information gain. Invited lecture given at the
        American Association of Police Polygraphists, Annual Seminar, Las Vegas, Nevada.
48.   Honts, C. R. (2014, May). Tactical polygraph: The Wizard’s 1st rule lives!. Invited lecture given
        at the American Association of Police Polygraphists, Annual Seminar, Las Vegas, Nevada.
49.   Honts, C. R. (2014, November). Interviews, interrogations, and confessions: Scientifically valid
        and invalid approaches (Entrevistas, Interrogaciones y Confesión: Approximations
        Científicamente Validadas e Inválidas). Invited address given at the annual meeting of the
        Asociación Latinoamericana de Poligrafistas, Cancún, Mexico.
50.   Honts, C. R. (2014, November). Polygraph: The good, the bad, and the ugly. Invited
        colloquium, Department of Psychology, University of North Dakota, Grand Forks.
51.   Honts, C. R. & Goodson, A. (2014, March). Public knowledge of and support for compensating
        the wrongfully convicted. Paper presented at the 2014 annual meeting of the American
        Psychology Law Society meeting in New Orleans, Louisiana.
52.   Honts, C. R., & Hartwig, M. (2014, November). Credibility assessment at portals (EVALUACIÓN
        DE CREDIBILIDAD EN PortalEs). Invited address to be given at the annual meeting of the
        Asociación Latinoamericana de Poligrafistas, Cancún, Mexico.
53.   Woody, W. D., Honts, C. R., Forrest, K. D., Provenza, K. R., Best, R. B., Williams, B. J., Woods,
        L., & Grogan, C. (2014, April). Jurors' perceptions and decisions related to polygraph
        examinations during police interrogation. Paper presented at the Rocky Mountain
        Psychological Association, Salt Lake City, Utah.

2013

54.   Honts, C. R. (2013, March). Current FBI polygraph/interrogation practices put the actually
        innocent at risk of false confession. Paper presented at the 2013 annual meeting of the
        American Psychology-Law Society, Portland, Oregon.
55.   Honts, C. R. (2013, May). Deception and deception detection. Invited address at the Osher
        Lifelong Learning Institute. Boise ID.
56.   Honts, C. R. (2013, May). Liars liars everywhere, and an apathetic psychology does not seem to
        care. Invited address given as the National Psi Chi Distinguished Speaker at the 25th
        Association for Psychological Science Annual Convention in Washington, D.C.




                                                21 of 56




                                                                       Appendix 7, Page 35 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25       Page 36 of 71



Charles R. Honts, Ph. D.                                                          Curriculum Vitae

2012

57.   Honts, C. R. (2012, February). Interrogation, false confessions & actual innocence, invited
        address at the College of Social Sciences and Public Affairs Speaker Series, Boise State
        University, Boise, Idaho.
58.   Honts, C. R. (2012, July). The Utah approach to polygraph testing: A scientifically validated
        approach. Invited address given at the XII Seminario Internacional de Entrenamiento
        Avanzado en Poligrafia, Mexico City, Mexico.
59.   Honts, C. R. (2012, July). Interviews, interrogations and confession: Scientifically valid and
        invalid approaches. Invited address given at the XII Seminario Internacional de
        Entrenamiento Avanzado en Poligrafia, Mexico City, Mexico.
60.   Honts, C. R., Craig, R. A., & Kassin, S. (March, 2012). Medium of presentation and the
        assessment of juvenile false confessions. Paper presented at the annual meeting of the
        American Psychology-Law Society, San Juan, Puerto Rico.
61.   Marchak, F. M., Keil, T. L., McBride, S., & Honts, C. R. (March, 2012). Ocular and physiological
        assessment of eyewitness identification. Paper presented at the annual meeting of the
        American Psychology - Law Society, San Juan, Puerto Rico.

2011

62.   Honts, C. R. (2011, August). Interrogations, false confessions, and the polygraph: Issues and
        concerns from psychological science. Invited address at the annual meeting of the
        Canadian Association of Police Polygraphists, Ottawa, Ontario, Canada.
63.   Honts, C. R. (2011, November). Actual innocence and the paradox of false confessions. Invited
        address at the Osher Lifelong Learning Institute. Boise ID.
64.   Honts, C. R., & Handler, M. (2011, April). Interrogations, false confessions and the polygraph:
        Issues and concerns from psychological science. Invited workshop (half day) at the American
        Association of Police Polygraphists annual meeting, Boston, MA.

2010

65.   Honts, C. R. (2010, January). Interrogations, Confessions, Psychology and Law. Invited address
        at the Federal Defenders’ 3rd Thursday meeting, Boise, Idaho.
66.   Honts, C. R. (2010, August). The Utah Approach to the Comparison Question Test. Invited
        address a the annual meeting of the Canadian Association of Police Polygraphists, Ottawa,
        Ontario, Canada.
67.   Honts, C. R. (2010, August). Countermeasures in 2010: What We Know and What We Don’t
        Know. Invited address at the annual meeting of the Canadian Association of Police
        Polygraphists, Ottawa, Ontario, Canada.
68.   Honts, C. R. (2010, October). Countermeasures; What We Know and What We Don’t Know.
        Invited address at the World Congress of Forensic Sciences and Polygraph (Congreso
        Mundial de Ciencias Forenses y Poligrafia) Cartagena, Colombia.




                                                22 of 56




                                                                        Appendix 7, Page 36 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 37 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

69.   Honts, C. R. (2010, October). Interrogations, False Confessions and the Polygraph: Issues and
        Concerns From Psychological Science. Invited address at the World Congress of Forensic
        Sciences and Polygraph (Congreso Mundial de Ciencias Forenses y Poligrafia) Cartagena,
        Colombia.
70.   Honts, C. R., & Crawford, M. (2010, March). Polygraph countermeasures cannot be detected
        from respiratory signatures: Government policy puts the innocent at risk. Paper presented at
        the 2010 meeting of the American Psychology Law Society, Vancouver, British Columbia,
        Canada.
71.   Honts, C. R., & Hartwig, M. (2010, March). Nine years After 9-11, why so little progress on
        assessing credibility at portals? Paper presented at the 2010 meeting of the American
        Psychology Law Society, Vancouver, British Columbia, Canada. 2009

2009


72.   Honts, C. R. (2009, January). Research on Countermeasures and the Utah Polygraph
        Technique. Invited address at the annual meeting of the National Polygraph Association,
        Las Vegas, Nevada.
73.   Honts, C. R. (2009, August). Countermeasures in 2009: What We Know and What We Don’t
        Know. Invited address at the annual meeting of the American Polygraph Association,
        Nashville, Tennessee.
74.   Honts, C. R. (2009, August). A Scientific Perspective of the Comparison Question Test. Invited
        address at the annual meeting of the American Polygraph Association, Nashville,
        Tennessee.
75.   Honts, C. R. (2009, August). The Scientific Community’s View of Interrogations, Confessions,
        False Confessions, and Actual Innocence. Invited address at the annual meeting of the
        American Polygraph Association, Nashville, Tennessee.
76.   Honts, C. R. (2009, September). Psychophysiological Detection of Deception: A Scientific
        Perspective in 2009. Invited address at the annual meeting of New Jersey Polygraphists.
77.   Honts, C. R. (2009, September). A Scientific Perspective of the Comparison Question Test.
        Invited address at the annual meeting of the New Jersey Polygraphists, Atlantic City, New
        Jersey.
78.   Honts, C. R. (2009, September). The Utah Scoring System. Invited address at the annual
        meeting of the New Jersey Polygraphists, Atlantic City, New Jersey.
79.   Honts, C. R. (2009, September). Countermeasures in 2009: What We Know and What We Don’t
        Know. Invited address at the annual meeting of the New Jersey Polygraphists, Atlantic City,
        New Jersey.
80.   Honts, C. R., Kassin, S., Forrest, K. D. (2009, March). Polygraph Examiners Unable to
        Discriminate True and False Juvenile Confessions: Reid Training Detrimental. Paper
        presented at the 2009 meeting of the American Psychology Law Society, San Antonio,
        Texas.
81.   Honts, C. R., & Raskin, D. C. (2009, November). Countermeasures in 2009: What We Know and
        What We Don’t Know. Invited address at Asociacion Colombiana de Poligrafistas, Bogotá,
        Colombia.



                                               23 of 56




                                                                      Appendix 7, Page 37 of 71
       Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25       Page 38 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

82.   Honts, C. R., Reavy, R., Markowski, K., McBride, S., Pitman, J., & Pitman, F. (2009, March).
        Variations in Comparison Question Test Methods Have Little Impact. Paper presented at the
        2009 meeting of the American Psychology Law Society, San Antonio, Texas.
83.   Raskin, D. C., Kircher, J. C., & Honts, C. R. (2009, November). Utah Zone Technique. Invited
         address at Asociacion Colombiana de Poligrafistas, Bogotá, Colombia.

2008

47.   Honts, C. R. (2008, March). The polygraph: Misrepresented, misunderstood, and misused.
        Invited address Psychology and Law Lecture Series at The Marian Miner Cook Athenaeum,
        Claremont McKenna College, Claremont, California.
48.   Honts, C. R., Pittman, F. A., Pittman, J. V., McBride, S. T., Anderson, A. B., & Christiansen, A.
        K., (2008, May). A New Paradigm for the Study of Deception Detection at Portals. Paper
        presented at the Association for Psychological Science annual meeting in Chicago, Illinois.

2007

49.   Christiansen, A., & Honts, C. R. (2007, March). The Incomprehensibility of judicial
         instructions and subsequent jury decisions. Paper presented at Off the Witness Stand:
         Using Psychology in the Practice of Justice, John Jay College of Criminal Justice, New
         York.
50.   Christiansen A. K., Honts, C. R., & Oldemeyer, L. (2007, May). Relationship Between
         Aggressive Authoritarianism And Juror Bias In Capital Trials, paper presented at the
         Western Psychological Association, Vancouver, British Columbia, Canada.
51.   Forrest, K. D., Simonsen, S., & Honts, C. R. (2007, September). A comparison of maximization
         and minimization in the cheating paradigm. Paper presented at Interrogations &
         Confessions: A Conference Exploring Current Research, Practice, and Policy, The
         University of Texas at El Paso, Texas.
52.   Honts, C. R. (2007, March). Munsterberg’s polygraph in 2007: The emergence of the
        polygraph as an effective tool in criminal justice and national security. Paper presented at
        Off the Witness Stand: Using Psychology in the Practice of Justice, John Jay College of
        Criminal Justice, New York.
53.   Honts, C. R. (2007, May). Assessing Credibility at Portals. Invited address given at the
        Credibility Assessment Research Summit (CARS) held by the Counterintelligence Field
        Activity (CIFA), Combating Terrorism Technology Support Office (CTTSO), and the Defense
        Academy for Credibility Assessment (DACA). Vienna, Virginia.
54.   Honts, C. R. & Kassin, S. M. (2007, March). False confessions by juvenile offenders found
        more believable than the truth. Paper presented at Off the Witness Stand: Using
        Psychology in the Practice of Justice, John Jay College of Criminal Justice, New York.
55.   Honts, C. R. & Kassin, S. M. (2007, September). False confessions by juvenile offenders as
        believable as true confessions. Paper presented at Interrogations & Confessions: A
        Conference Exploring Current Research, Practice, and Policy, The University of Texas at El
        Paso, Texas.




                                                24 of 56




                                                                       Appendix 7, Page 38 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 39 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

2006

56.   Forrey, S. A. & Honts, C. R. (2006, April). Individual views of felons returning to the community.
         Paper presented at the annual meeting of the Rocky Mountain Psychological Association,
         Park City, Utah.
57.   Honts, C. R. (2006, March). The science of false confessions. Invited address presented at: Life
        in the Balance 2006: Defending Death Penalty Cases. National Legal Aid & Defender
        Association, Philadelphia, Pennsylvania.
58.   Honts, C. R. (2006, March). The polygraph in 2006: Basic issues and novel uses. Invited
        address presented at: Life in the Balance 2006: Defending Death Penalty Cases. National
        Legal Aid & Defender Association, Philadelphia, Pennsylvania.
59.   Honts, C. R. (2006, March). Polygraph in the American courts: Current status, novel uses, and
        future prospects. Invited address presented at the European Expert Meeting on Polygraph
        Testing: Practical Session, Maastrich, The Netherlands.
60.   Honts, C. R. (2006, March). The science of psychophysiological deception detection: An
        analysis from an applied scientific perspective. Invited address presented at the European
        Expert Meeting on Polygraph Testing: Research Session, Maastrich, The Netherlands.
61.   Honts, C. R. (2006, April). Contemporary research on the comparison question test. Invited
        address given at the Unit for Criminal, Legal and Investigative Psychology, Göteborgs
        Universitet, Göteborg, Sweden.
62.   Honts, C. R. (2006, April). Deception and deception detection: The unwanted psychology.
        Presidential address delivered at the annual meeting of the Rocky Mountain Psychological
        Association, The Canyons, Utah.
63.   Honts, C. R. (2006, October). The psychophysiological detection of deception: The state of the
        science in 2006. Invited address given at the University of Nebraska at Kearney.
64.   Honts, C. R., Huck, B., & Sanders, S. (2006, April). Certainly, I would know a false confession
        by a juvenile if I saw one? Paper presented in the Presidential symposium: Contemporary
        deception and deception detection research in the Rocky Mountain Region, at the annual
        meeting of the Rocky Mountain Psychological Association, Park City, Utah.
65.   Turnblom, K.A. & Honts, C. R. (2006, April). Mortality Salience and attitudes toward the death
         penalty. Paper presented at the annual meeting of the Rocky Mountain Psychological
         Association, Park City, Utah.
66.   Turnblom, K. A., & Honts, Charles, C. R. (2006, April). Indications of truthfulness resulting
         from race perceptions. Paper presented at the annual meeting of the Rocky Mountain
         Psychological Association, Park City, Utah.

2005

67.   Forrest, K., Ewton, S., & Honts, C. R., (2005, March). “I confess …I hit the ‘ALT’ key:” Could
         the “ALT” key be misleading special knowledge? Paper presented at the American
         Psychology-Law Conference in La Jolla, California, USA.
68.   Honts, C. R. (2005, March). Information gain for the psychophysiological detection of deception.
        Paper presented at the American Psychology-Law Conference in La Jolla, California, USA.
69.   Honts, C. R. (2005, May). Polygraph countermeasures. Invited lecture at 第二届全国心 理测试高
        级培训班（中国洛阳）Second Chinese National Seminar on Polygraph. Luoyang, China.

                                                25 of 56




                                                                        Appendix 7, Page 39 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 40 of 71



Charles R. Honts, Ph. D.                                                          Curriculum Vitae

70.   Honts, C. R. (2005, November). The psychology of false confessions. Invited address at the
        Atlantic Canadian Conference: Understanding Wrongful Convictions, sponsored by Saint
        John Police Force and Office of the Attorney General of New Brunswick. Saint John, New
        Brunswick, Canada. http://www.uwcsaintjohn.ca/index.html
71.   Honts, C. R., & Raskin, D. C. (2005, May). The directed lie comparison question. Invited
        lectures at 第二届全国心理测试高级培训班（中国洛阳）Second Chinese National Seminar on
        Polygraph. Luoyang, China.
72.   Honts, C. R., & Raskin, D. C. (2005, May). The polygraph in employment and national security.
        Invited lectures at 第二届全国心理测试高级培训班（中国洛阳）Second Chinese National
        Seminar on Polygraph. Luoyang, China.
73.   Honts, C. R. (2005, September). Deception and deception detection. Invited address at the
        Fraud and Identity Theft Conference, Boise State University, Boise, Idaho.
74.   Honts, C. R., & Turnblom, K. A., (2005, August). Eyewitness identification more difficult under
        low illumination: Live event experiment. Paper presented at the annual meetings of the
        American Psychological Association, Washington DC.
75.   Raskin, D. C., & Honts, C. R. (2005, May). Polygraph techniques. Invited lectures at 第二届全
         国心理测试高级培训班（中国洛阳）Second Chinese National Seminar on Polygraph. Luoyang,
         China.
76.   Raskin, D. C., & Honts, C. R. (2005, May). Polygraph numerical scoring system. Invited
         lectures at 第二届全国心理测试高级培训班（中国洛阳）Second Chinese National Seminar on
         Polygraph. Luoyang, China.
77.   Raskin, D. C., & Honts, C. R. (2005, July). Using the polygraph in employment and national
         security. Paper presented at: Workshop on the Use of Autonomic and Somatic Measures
         for Security Evaluations, John C. Kircher, Chair, National Science Foundation and Office of
         Science and Technology Effort to Propose an Agenda for Research on Security Evaluations.
         National Science Foundation, Arlington, Virginia.
78.   Turnblom, K., & Honts, C. R. (2005, March). The accuracy of eyewitness identification under
         differing illumination condition. Paper presented at the American Psychology-Law
         Conference in La Jolla, California USA.
79.   Turnblom K., & Honts, C. R. (2005, April). The accuracy of eyewitness identification in
         sequential lineups and varied illumination. Paper presented at the Rocky Mountain
         Psychological Association meeting in Phoenix, Arizona.
80.   Turnblom K., & Honts, C. R. (2005, April). Intrinsic Vs. Extrinsic Religiosity And Feelings Of
         Regret About Sexual Behavior. Paper presented at the Rocky Mountain Psychological
         Association meeting in Phoenix, Arizona.

2004

81.   Anders, S., Forrest, K. D., & Honts, C. R., (March, 2004). Uncommon knowledge: getting
        judges past what they think they know and gaining acceptance for expert testimony in
        social science disciplines. Paper presented at the biennial meeting of the American
        Psychology-Law Society, Scottsdale, Arizona.
82.   Forrest, K. D., Honts, C. R., & Anders, S. (March, 2004). Laypersons’ predictions of research
         findings sometimes fail to demonstrate common knowledge. Paper presented at the biennial
         meeting of the American Psychology-Law Society, Scottsdale, Arizona.

                                                26 of 56




                                                                        Appendix 7, Page 40 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 41 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

83.   Hill, B., Honts, C., Lutsky, N., & Lodge, G. (2004, April). Perspectives on teaching: The young,
          old, & the aged. STP/CTUP Conversation Hour, R. Miller, Moderator, Rocky Mountain
          Psychological Association, Reno, Nevada.
84.   Honts, C. R. (2004, March). The polygraph in 2004: How to tell the good from the bad in both
        science and practice. Invited address presented at Life in the Balance 2004: Defending
        Death Penalty Cases. National Legal Aid & Defender Association, Memphis, Tennessee.
85.   Honts, C. R., & Forrest, K. D., (2004, April). A cautionary note for the teaching of psychology
        and law: Media images may be more persuasive than data. Paper presented at the annual
        meeting of the Rocky Mountain Psychological Association, Reno, Nevada.
86.   Honts, C. R., & Raskin, D. C. (March, 2004). Polygraph critics advocate convicting the innocent.
        Paper presented at the biennial meeting of the American Psychology-Law Society,
        Scottsdale, Arizona.

2003

87.   Bell, V., Booras, A., Hunsaker, C., Mower, K., Villamarin, V., Wilson, S., Forrest, K., & Honts
         C. R. (2003, April). Women give fewer false confessions than men in a laboratory study.
         Paper presented at the Rocky Mountain Psychological Association Meeting, Denver Co.
88.   Forrest, K. D., Wilson, S. L., & Honts, C. R. (2003, July). Think about what you have done in
         the past: Does rumination elicit false confessions? Paper presented at the Second
         International Interdisciplinary Conference on Psychology and Law, Edinburgh, Scotland.
89.   Honts, C. R. (2003, March). The psychophysiological detection of deception: The state of the
        science in 2003. Invited address given at: Rättspsykologiskt symposium: Hur avslöjas en
        lögnare? (Deception Detection in Forensic Contexts.) Sponsored by the Unit for Criminal,
        Legal and Investigative Psychology, Göteborgs Universitet, Göteborg, Sweden.
90.   Honts, C. R. (2003, October). Participant perceptions support the rationale of the comparison
        question test for the psychophysiological detection of deception. Paper presented at the
        annual meeting of the Society for Psychophysiological Research, Chicago, Illinois.
91.    Skogsberg, K., & Honts, C. R., & Wolfe, G. (2003, April). Case studies of EEG biofeedback
         training using a measurement of affect. Paper presented at the Rocky Mountain
         Psychological Association Meeting, Denver, Colorado

2002

92.   Alloway, W. R., & Honts, C. R. (2002, April). An information countermeasure has no effect on
          the validity of the Test for Espionage and Sabotage (TES). Paper presented at the annual
          meeting of the Rocky Mountain Psychological Association, Park City, Utah.
93.   Honts, C. R. (2002, April). A higher education application of Åronson’s Jigsaw Technique.
        Invited lecture sponsored by the APA Higher Education Directorate & the Society for the
        Teaching of Psychology at the annual meeting of the Rocky Mountain Psychological
        Association, Park City, Utah.
94.   Honts, C. R. (2002, September). Countermeasures, can we detect them, the scientific research,
        and can we neutralize them. Invited address at the Midwest Polygraph Training Seminar.
        Sponsored by the National Polygraph Association, Kansas Polygraph Association, Missouri
        Polygraph Association and the Nebraska Polygraph Association, Overland Park, Kansas.


                                                27 of 56




                                                                       Appendix 7, Page 41 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 42 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

95.    Honts, C. R. (2002, September). The directed lie technique. Invited address at the Midwest
         Polygraph Training Seminar. Sponsored by the National Polygraph Association, Kansas
         Polygraph Association, Missouri Polygraph Association and the Nebraska Polygraph
         Association, Overland Park, Kansas.
96.   Honts, C. R., Thurber, S., Cvencek, D., & Alloway, W. (2002, March). General acceptance of the
        polygraph by the scientific community: Two surveys of professional attitudes. Paper
        presented at the American Psychology-Law Society biennial meeting, Austin, Texas.
97.   Villamarin, V. A., Honts, C. R. (2002, April). A comparison of three methods of scoring
          comparison question polygraph tests. Paper presented at the annual meeting of the Rocky
          Mountain Psychological Association, Park City, Utah.
2001

98.   Cvencek, D., Honts, C. R., Kruger-Warn, E., Alloway, W., Hunsaker, C., & Nudson, O. N.
         (2001, April). Psycho-legal scholars report positive attitudes towards polygraph validity.
         Paper presented at the annual meeting of the Rocky Mountain Psychological Association,
         Reno, Nevada.
99.   Honts, C. R. (2001, April). Truth or just bias: The strange mix of psychology, law and the
        detection of deception. RMPA Invited Lecture, presented at the annual meeting of the Rocky
        Mountain Psychological Association, Reno, Nevada.
100. Honts, C. R. (2001, April). Truth or bias: Psychology and the polygraph. Invited address,
       distinguished lectures in Psychology, The University of Nebraska, Kearney.
101. Honts, C. R. (2001, April). Child Witness: Credibility and Assessment. Invited address,
       distinguished lectures in Psychology, The University of Nebraska, Kearney.
102. Honts, C. R. (2001, April). Documenting your credentials when applying for graduate school
       and for academic employment. In S. Amato, C. R. Honts, & J. Purdy: Where’s the beef?
       Obtaining and demonstrating skills essential for employment and graduate school, a
       symposium presented at the annual meeting of the Rocky Mountain Psychological
       Association, Reno, Nevada.
103. Honts, C. R. (2001, April). Undergraduate involvement in an active detection of deception
       laboratory. In A. Webb: Undergraduate teaching and research: Roles are constrained only
       by imagination, Society for the Teaching of Psychology (Div 2) Invited symposium presented
       at the annual meeting of the Rocky Mountain Psychological Association, Reno, Nevada.
104. Honts, C. R. (2001, July). Validity of the polygraph when used for national security screening.
       Invited presentation before the National Academy of Sciences National Research Council
       Division on Behavioral and Social Sciences and Education, Committee to Review the
       Scientific Evidence on the Polygraph. Woods Hole, Massachusetts.

2000

105. Amato, S. L., Dillinger, R. J., & Honts, C. R. (2000, March). Psychophysiological detection of
       deception exams in the treatment of sex offenders. Paper presented at the American
       Psychology-Law Society biennial meeting, New Orleans, Louisiana.
106. Hanson, G., Kruger-Warn, E. R., Honts, C. R., & Thurber, S. (2000, May). Approaches to the
       analysis of 2 X 3 contingency tables in detection of deception research: A Monte Carlo
       analysis. Paper given at the annual meeting of the Idaho Psychological Association, Boise,
       Idaho.
                                               28 of 56




                                                                      Appendix 7, Page 42 of 71
       Case 6:20-cv-01163-MTK         Document 387-7        Filed 07/07/25      Page 43 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

107. Honts, C. R., Amato, S., & Gordon, A. (2000, March). Outside issues dramatically reduce the
       accuracy of polygraph tests given to innocent individuals. Paper presented at the American
       Psychology-Law Society biennial meeting, New Orleans, Louisiana.
108. Kruger-Warn, E. R., Hanson, G., Honts, C. R., & Thurber, S. (2000, May). Approaches to the
        analysis of 2 X 3 contingency tables in detection of deception research: A power analysis for
        a small effect. Paper given at the annual meeting of the Idaho Psychological Association,
        Boise, Idaho.

1999

109. Amato, S. L., & Honts, C. R. (1999, May). Automated polygraph examination outperforms
       human in employment screening context. Paper presented at the annual meeting of the
       Midwestern Psychological Association, Chicago, Illinois.
110. Amato, S. L., & Honts, C. R. (1999, July). Polygraph testing in the American courts: A mismatch
       between science and the law. Paper presented at the International Psychology Law
       Conference, Dublin, Ireland.
111. Honts, C. R. (1999, August). Polygraph algorithms: What are they? and Do they work?
       Invited address at the annual meeting of the American Polygraph Association, Dallas,
       Texas.
112. Honts, C. R., & Amato, S. (1999, April). Human v. machine: Research examining the
       automation of polygraph testing. Paper presented at the annual meeting of the Rocky
       Mountain Psychological Association, Fort Collins Colorado.
113. Otter, K. D., Amato, S., & Honts, C. R. (1999, April). Spontaneous countermeasures during
        polygraph examinations: An apparent exercise in futility. Paper presented at the annual
        meeting of the Rocky Mountain Psychological Association, Fort Collins Colorado.

1998

114. Amato, S. L. & Honts, C. R. (1998, March). The impairing effects of misinformation:
       Challenging the permanence of memory. Paper presented at the American Psychology-Law
       Biennial Conference, Redondo Beach, California.
115. Devitt, M. K., Honts, C. R., & Letterman, M. R. (1998, March). Regional differences effect mock
        juror decisions and trial outcome in cases involving sexual abuse allegations. Paper
        presented at the American Psychology-Law Biennial Conference, Redondo Beach,
        California.
116. Honts, C. R. (1998, April). Psychological science in the courtroom: Five years after Daubert.
       Symposium presented (and chaired) at the joint meeting of the Western Psychological
       Association and the Rocky Mountain Psychological Association, Albuquerque, New Mexico.
117. Honts, C. R. (1998, April). The polygraph after Daubert. Paper presented at the joint meeting
       of the Western Psychological Association and the Rocky Mountain Psychological
       Association, Albuquerque, New Mexico.

1997

118. Amato, S. L., & Honts, C. R. (1997, May). Understanding misinformation’s effect on memory
       through a concealed knowledge test paradigm. Paper presented at the annual meeting of
       the American Psychological Society, Washington, DC.
                                               29 of 56




                                                                      Appendix 7, Page 43 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 44 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

119. Honts, C. R. (1997, May). Is it time to reject the friendly polygraph examiner hypothesis (FEPH)?
       Paper presented at the annual meeting of the American Psychological Society, Washington,
       D.C.
120. Nowell, B., Lamet, J. Amato, S. L., & Honts, C. R. (1997, April). Child abuse vs. normal
       interactions: A review of the literature. Paper presented the annual meeting of the Rocky
       Mountain Psychological Association, Reno, Nevada.
121. Orner, V. L., Devitt, M. K., Honts, C. R., & Donaldson, J. S. (1997, March). Regional attitude
        differences toward repressed and nonrepressed memories. Paper presented at the
        Oklahoma Psychological Association and Oklahoma Psychological Society 15th Annual
        Spring Conference to Encourage and Develop Psychological Research, Edmond, OK.
122. Orner, V. L., Devitt, M. K., & Honts, C. R. (May, 1997). Regional differences in attitudes toward
        repressed and nonrepressed memories. Paper presented at the annual meeting of the
        Southwestern Psychological Association, Fort Worth, Texas.

1996

123. Amato-Henderson, S. L., Honts, C. R., & Plaud, J. J. (October, 1996). Effects of misinformation
       on the concealed knowledge test. Paper presented at the annual meeting of the Society for
       Psychophysiological Research, Vancouver, British Columbia, Canada.
124. Devitt, M. K., Honts, C. R., & Loftus, E. F. (April, 1996). The effects of misinformation on
        memory for complete events. Paper presented at the 1996 Southwestern Psychological
        Association Annual Conference, Houston, Texas.
125. Devitt, M. K., Honts, C. R., & Timm, T. M. (April, 1996). Sleeping memories revisited: Mock
        jurors' attitudes regarding repressed memories. Paper presented at the 1996 Southwestern
        Psychological Association Annual Conference, Houston, Texas.
126. Devitt, M. K., Loftus, E. F. & Honts, C. R. (November, 1996) 'Memory for fictitious events.
        Paper presented at the 37th Annual Meeting of the Psychonomic Society, Inc, Chicago, IL.
127. Honts, C. R. (April, 1996). Science and the child witness: Credibility and its assessment.
       Invited address given at the Idaho Psychological Association meetings in Sun Valley, Idaho.
128. Tye, M. J. C., & Honts, C. R. (August, 1996). Evaluating children's testimonies with training
        in criteria based content analysis. Paper presented at the meetings of the American
        Psychological Association, Toronto, Ontario, Canada.

1995

129. Gillund, B., Ferraro, F. R., Petros, T., & Honts, C. R. (June, 1995). Time course of word
         recognition resource allocation between good and poor readers. Paper presented at the
         annual meetings of the American Psychological Society, New York City.
130. Honts, C. R. (January, 1995). Credibility assessment with children. Paper presented at
       CRIMECON: The International INTERNET Conference on Crime and Criminal Justice.
131. Honts, C. R. (October, 1995). The Raskin legacy: Psychophysiology, psychology, and the law.
       Paper given in C. R. Honts and S. W. Porges, The Raskin legacy: From Pavlov to the law: A
       preconference symposium honoring David C. Raskin. Special Event at the annual
       meetings of the Society for Psychophysiological Research, Toronto, Canada.



                                               30 of 56




                                                                      Appendix 7, Page 44 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 45 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

132. Honts, C. R., Devitt, M. K., Tye, M. J. C., Peters, D. P., & Vondergeest, L. (April, 1995).
       credibility assessment with children. Paper presented at the Society for Research in Child
       Development meetings in Indianapolis, Indiana.
133. Honts, C. R., & Kircher, J. C. (October, 1995). Legends of the concealed knowledge test:
       Lykken's distributional scoring system fails to detect countermeasures. Paper presented at
       the meetings of the Society for Psychophysiological Research, Toronto, Canada.
134. Kircher, J. C., Raskin, D. C., Honts, C. R., & Horowitz, S. W. (October, 1995). Lens model
        analysis of decision-making by field polygraph examiners. Paper presented at the meetings
        of the Society for Psychophysiological Research, Toronto, Canada.
135. Tye, M. J. C., & Honts, C. R. (April, 1995). Adults are no better than chance at detecting
        children's narrative deception. Paper presented at the Society for Research in Child
        Development meetings in Indianapolis, Indiana.
136. Tye, M. J. C., & Honts, C. R. (November, 1995). Training in a new assessment technique (SVA)
        for the diagnosis of the sexually abused child. Paper presented at the annual meeting of the
        Association for Advancement of Behavior Therapy, Washington, DC.
137. Tye, M. J. C., Henderson, S. A., & Honts, C. R. (January, 1995). Evaluating children's
        testimonies: CBCA and lay subjects. Paper presented at CRIMECON: International
        INTERNET Conference on Crime and Criminal Justice.

1994

138. Amato, S. L. & Honts, C. R. (October, 1994). What do psychophysiologists think about
       polygraph tests? A survey of the membership of SPR. Paper presented at the annual
       meeting of the Society for Psychophysiological Research, Atlanta, GA.
139. Amato, S. L., & Honts, C. R. (March, 1994). A survey of the Society for Psychological Research
       regarding the polygraph. Paper presented at the Red River Valley Psychology Conference,
       Fargo ND.
140. Devitt, M. K., Honts, C. R., Gillund, B. E., Amato, S. L., Peters, D. P., & Norton, M. (March,
        1994). A study of the willingness of children to make false accusations about a serious
        matter. Paper presented at the American Psychology - Law Society Meetings, Sante Fe, NM.
141. Devitt, M. K., Honts, C. R., & Timm, T. (October, 1994). Sleeping memories revisited: The
        effects of repressed and non-repressed memories on jurors. Paper presented at the annual
        meeting of the North Dakota Psychological Association, Grand Forks.
142. Honts, C. R. (May, 1994). False allegations in sexual abuse cases. Invited address at the 1st
       Annual Conference on Psychiatry and the Law, Missoula Psychiatric Services, Missoula,
       Montana.
143. Honts, C. R. (August, 1994). The psychophysiological detection of deception. Invited address
       given at Vitnepsykologi - 94: Psychological Methods in the Investigation and Court
       Treatment of Sexual Abuse, Tromsø, Norway.
144. Honts, C. R. (September, 1994). Uses and abuses of polygraph test used in child sexual abuse
       litigation. Invited address at the Third International Conference of the National Child
       Abuse Defense and Resource Center, Cleveland, Ohio.
145. Honts, C. R. (September, 1994). Child witness credibility: Influence factors and methods of
       assessment. Invited address at the Third International Conference of the National Child
       Abuse Defense and Resource Center, Cleveland, Ohio, September 23, 1994

                                               31 of 56




                                                                      Appendix 7, Page 45 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25      Page 46 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

146. Honts, C. R. (October, 1994). Field validity study of the Canadian Police College polygraph
       technique. Paper presented at the annual meeting of the Society for Psychophysiological
       Research, Atlanta, GA.
147. Honts, C. R., & Devitt, M. K. (March, 1994). Credibility assessment of verbatim statements
       (CAVS): A study of statement analysis with adults. Paper presented at the meeting of the
       American Psychology - Law Society, Sante Fe, NM.
148. Honts, C. R., Winbush, M., & Devitt, M. K. (October, 1994). Physical and mental
       countermeasures can be used to defeat guilty knowledge tests. Paper presented at the
       annual meeting of the Society for Psychophysiological Research, Atlanta, GA.
149. Honts, C. R., & Raskin, D. C. (August, 1994). The susceptibility of children to suggestion and
       influence. Invited address given at Vitnepsykologi - 94: Psychological Methods in the
       Investigation and Court Treatment of Sexual Abuse, Tromsø, Norway.
150. Kircher, J. C., Raskin, D. C., Honts C. R., & Horowitz, S. W. (October, 1994). Generalizability
        of statistical classifiers for the detection of deception. Paper presented at the annual
        meeting of the Society for Psychophysiological Research, Atlanta, GA.
151. Raskin, D. C., & Honts, C. R (1994). A bootstrap reanalysis of the results of Boychuk, 1991.
        Invited address given at Vitnepsykologi - 94: Psychological Methods in the Investigation
        and Court Treatment of Sexual Abuse, Tromsø, Norway.
152. Telander, R., & Honts, C. R. (March, 1994). Bingo: Who is playing and why? Paper presented
        at the Red River Valley Psychology Conference, Fargo, ND.
153. Tye, M. J. C., & Honts, C. R. (March, 1994). Evaluating children's testimonies. Paper
        presented at the Red River Valley Psychology Conference, Fargo, ND.
154. Tye, M. J. C., Amato, S. L., Honts, C. R. (October, 1994). Evaluating children's testimonies:
        Recent research. Paper presented at the annual meeting of the North Dakota Psychological
        Association, Grand Forks.

1993

155. Amato, S. L., & Honts, C. R. (October, 1993). Scientific Attitudes about the polygraph:
       Implications for admissibility following the death of Frye. Paper presented at the annual
       meeting of the North Dakota Psychological Association, Fargo, ND.
156. Devitt, M. K., & Honts, C. R. (June, 1993). Multivariate classifiers perform as well as experts in
        the detection of deception. Paper presented at the annual meeting of the American
        Psychological Society, Chicago.
157. Devitt, M. K., Honts, C. R., & Gillund B. (June, 1993). Stealing thunder does not ameliorate
        the effects of the hired gun cross-examination tactic. Paper presented at the annual meeting
        of the American Association for Applied and Preventive Psychology, Chicago.
158. Honts, C. R. (February, 1993). The application of computationally intensive statistical
       techniques in a psychophysiological detection of deception problem. University of North
       Dakota, Computer Science Colloquium. Grand Forks, North Dakota.
159. Honts, C. R. (October, 1993). Symposium: Assessing children's credibility. (Chair)
       Symposium presented at the annual meeting of the North Dakota Psychological
       Association, Fargo, ND.



                                               32 of 56




                                                                       Appendix 7, Page 46 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 47 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

160. Honts, C. R. (October, 1993). Statement validity assessment: A technique for assessing the
       veracity of a child witness. Paper presented in C. R. Honts, Chair, Symposium: Assessing
       children's credibility. North Dakota Psychological Association, Fargo, ND.
161. Honts, C. R., & Devitt, M. K. (June, 1993). Bootstrap statistical decision maker developed for
       use in the detection of deception. Paper presented at the annual meeting of the American
       Psychological Society, Chicago.
162. Honts, C. R., Devitt, M. K., & Amato, S. L. (June, 1993). Explanatory style predicts perceptions
       of expert witness believability. Paper presented at the annual meeting of the American
       Association of Applied and Preventive Psychology, Chicago.
163. Vondergeest, L. K., Honts, C. R., & Devitt, M. K. (June, 1993). No gender effects found on
        mock juror’s perceptions of expert witness credibility. Paper presented at PSY-CHI session
        at the annual meeting of the American Psychological Society, Chicago.

1992

164. Devitt, M. K., Honts, C. R., & Peters, D. P. (1992, April). Truth or just bias: The presentation of
        polygraph testing in introductory psychology texts. Paper presented at the Red River Valley
        Psychology Conference.
165. Devitt, M. K., Peters, D., Honts, C. R., & Amato, S. (1992, May). A study of the willingness of
        children to make a false accusation about a serious matter. Paper presented at the NATO
        ASI: The Child Witness in Context: Cognitive, Social, and Legal Perspectives, IL Ciocco,
        Italy.
166. Honts, C. R., & Devitt, M. K. (1992, March). The hired gun cross examination tactic reduced
       mock jurors' perception of expert witness' credibility. Paper presented at the biennial
       meeting of the American Psychology-Law Society/Division 41 San Diego, CA.
167. Honts, C. R. (1992, April). The psychophysiological detection of deception: Sparks fly at the
       intersection of science, psychology, and the law. Keynote address of the Red River
       Psychology Conference, North Dakota State University, Fargo.
168. Honts, C. R., Peters, D., Devitt, M. K., & Amato, S. L. (1992, May). Detecting children's lies
       with statement validity assessment: A pilot study of a laboratory paradigm. Paper presented
       at the NATO ASI: The Child Witness in Context: Cognitive, Social, and Legal Perspectives,
       IL Ciocco, Italy.
169. Honts, C. R., Devitt, M. K., & Amato, S. L. (1992, October). Neural network classifiers and the
       detection of deception revisited: Depth of learning and overfitting. Paper presented at the
       annual meeting of the Society for Psychophysiological Research, San Diego, CA.
170. Vondergeest, L. K., Honts, C. R., & Devitt, M. K. (1992, April). Effects of juror and expert
        witness gender on jurors' perception of the expert witness. Paper presented at the Red River
        Valley Psychology Conference.

1991

171. Devitt, M. K., Shubert, L. E., & Honts, C. R. (1991, April). Male and female knowledge of and
        responsibilities in the use of contraceptives. Paper presented at the Red River Psychology
        Conference, Moorhead, Minnesota.




                                                33 of 56




                                                                        Appendix 7, Page 47 of 71
       Case 6:20-cv-01163-MTK         Document 387-7         Filed 07/07/25       Page 48 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

172. Honts, C. R. (1991, February). Psychophysiological detection of deception. Presentation given
       at the Psychiatry Grand Rounds of North Dakota. North Dakota Educational Telephone
       Network (ETN).
173. Honts, C. R. (1991, June). The counterintelligence scope polygraph test found to be a poor
       discriminator. Paper presented at the annual meeting of the American Psychological
       Society, Washington, D. C.
174. Honts, C. R. (1991, November). Jackknife, cross-validation, bootstrapping, and neural
       networks? An introduction to the application of computationally intensive methods in
       psychology. University of North Dakota, Psychology Department Colloquium Series, Grand
       Forks, North Dakota.
175. Honts, C. R., & Kristjanson, A. (1991, June). A back-propagation neural network fails to out
       perform discriminant analysis in a physiological detection of deception task. Paper
       presented at the First Annual Convention of the American Association of Applied and
       Preventive Psychology (AAAPP), Washington, D. C.
176. Honts, C. R. (1991, October). Converging evidence indicates invalidity for national security
       screening polygraph tests. Paper presented at the annual meeting of the Society For
       Psychophysiological Research, Chicago, IL.
177. Honts, C. R., & Devitt, M. K. (1991, October). Jackknife analyses of discriminant, logistic
       regression and back propagation neural network classifiers in a psychophysiological
       detection of deception problem. Paper presented at the annual meeting of the Society for
       Psychophysiological Research, Chicago, IL.

1990

178. Honts, C. R. (1994, December). Polygraph tests: Facts, fables, and the future. Colloquium
       given at the Department of Psychology, North Dakota State University, Fargo, North
       Dakota.
179. Honts, C. R., & Raskin, D. C. (1990, March). The "Yes" answered control question: Dispelling
       one of the myths of the polygraph profession. Paper presented at the 1990 American
       Psychology-Law Society/Division 41 Biennial Meeting, Williamsburg VA.
180. Honts, C. R., & Carlton, B. (1990, October). Effects of incentives on the detection of deception.
       Paper presented at the annual meeting of the Society for Psychophysiological Research,
       Boston, MA.

1989

181. Barland, G. H., Honts, C. R., & Barger, S. D. (1989, October). The validity of detection of
        deception for multiple issues. Paper presented at the annual meeting of the Society for
        Psychophysiological Research, New Orleans, LA.
182. Honts, C. R., Barland, G. H., & Barger, S. D. (1989, October). The relative validity of criminal
       and screening approaches to the detection of deception. Paper presented at the annual
       meeting of the Society for Psychophysiological Research, New Orleans, LA.




                                               34 of 56




                                                                       Appendix 7, Page 48 of 71
       Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25       Page 49 of 71



Charles R. Honts, Ph. D.                                                           Curriculum Vitae

1988

183. Honts, C. R., Raskin, D. C., Kircher, J. C., & Horowitz, S. W. (1988, March). A field validity
       study of the control question test. Paper presented at the American Psychology and Law
       Society / Division 41 Midyear Conference, Miami, Florida.
184. Honts, C. R., & Driscoll, L. D. (1988, April). The development of a rank order scoring system for
       detection of deception. Paper presented at the annual meeting of the Rocky Mountain
       Psychological Association, Snowbird, Utah.
185. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1988, April). Visceral perception and the detection
       of deception. Paper presented at the annual meeting of the Rocky Mountain Psychological
       Association, Snowbird, Utah.
186. Honts, C. R., Horowitz, S. W., & Raskin, D. C. (1988, April). Can the short Eysenck
       questionnaire be substituted for the Eysenck Personality Inventory. Paper presented at the
       annual meeting of the Rocky Mountain Psychological Association, Snowbird, Utah.
187. Honts, C. R., Kircher, J. C., & Raskin, D. C. (1988, October). Patterns of activation and
       deception. Paper presented at the annual meeting of the Society for Psychophysiological
       Research, San Francisco, CA.
188. Horowitz, S. W., Collins, S., Raskin, D. C., & Honts, C. R. (July, 1988). Facial expressions of
        deceit. Paper presented at the NATO Advanced Study Institute, Credibility Assessment: A
        Unified Theoretical and Research Perspective, Maratea, Italy.
189. Horowitz, S. W., Raskin, D. C., Honts, C. R., & Kircher, J. C. (1988, October). Control
        questions in physiological detection of deception. Paper presented at the annual meeting of
        the Society for Psychophysiological Research, San Francisco, CA.
190. Kircher, J. C., Raskin, D. C., Honts, C. R., & Horowitz, S. W. (1988, October). Generalizability
        of mock crime laboratory studies of the control question polygraph technique. Paper
        presented at the annual meeting of the Society for Psychophysiological Research, San
        Francisco, CA.
191. Raskin, D. C., Kircher, J. C., Honts, C. R., & Horowitz, S. W. (1988, October). Validity of
        control question polygraph tests in criminal investigation. Paper presented at the annual
        meeting of the Society for Psychophysiological Research, San Francisco, CA.

1987

192. Honts, C. R. (February, 1987). Countermeasures to the physiological detection of deception.
       Colloquium given at the Psychology Department, Wake Forest University, Winston-Salem,
       North Carolina.
193. Honts, C. R. & Prestrude, A. M. (1987, April). Interocular effect on specific thresholds for flicker.
       Paper presented at the meeting of the Rocky Mountain Psychological Association,
       Albuquerque, New Mexico.
194. Honts, C. R. (1987, April). Polygraph credibility assessment. In John Yuille (Chair),
       Symposium: Assessing eyewitness credibility. Paper presented at the meeting of the Rocky
       Mountain Psychological Association, Albuquerque, New Mexico.
195. Honts, C. R. & Raskin, D. C. (1987, May). A field validation study of directed lie and standard
       control questions. Paper presented at the meeting of the Rocky Mountain Psychological
       Association, Albuquerque, New Mexico.

                                                 35 of 56




                                                                         Appendix 7, Page 49 of 71
       Case 6:20-cv-01163-MTK         Document 387-7        Filed 07/07/25      Page 50 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

196. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1987, August). Is polygraph test accuracy related
       to perceptions of test accuracy? Paper presented at the annual meeting of the American
       Psychological Association, New York.

1986

197. Honts, C. R. (April, 1986). Clinical versus statistical decision making in the physiological
       detection of deception: Possible solutions to problems of application. Colloquium given at
       the Department of Psychology, Virginia Polytechnic Institute and State University,
       Blacksburg.
198. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1986, March). Socialization and the detection of
       deception. Paper presented at the American Psychology and Law Society / Division 41
       Midyear Conference, Tucson, Arizona.
199. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1986, August). Countermeasures and the
       detection of deception. Paper presented at the annual meeting of the American
       Psychological Association, Washington, D. C.
200. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1986, October). Individual differences and the
       physiological detection of deception. Paper presented at the annual meeting of the Society
       for Psychophysiological Research, Montreal Canada.

1985

201. Raskin, D. C., Kircher, J. C., & Honts, C. R. (1985, February). Computerized polygraph
        interpretations and detection of physical countermeasures. Invited paper, IDENTA '85
        International Congress on Techniques for Criminal Identification, Jerusalem, Israel.
202. Honts, C. R., (1985, August). Research on countermeasures and the physiological detection of
       deception. Paper presented at the annual meeting of the American Psychological
       Association, Los Angeles, CA.

1984

203. Honts, C. R. (1984, October). Countermeasures and the physiological detection of deception.
       Paper presented at the meeting of the Society for Psychophysiological Research, Milwaukee,
       WI.
204. Honts, C. R., Raskin, D. C., Kircher, J. C., & Hodes, R. L. (1984, October). Effects of
       spontaneous countermeasures on the physiological detection of deception. Paper presented
       at the meeting of the Society for Psychophysiological Research, Milwaukee, WI.
205. Kircher, J. C., Raskin, D. C., & Honts, C. R. (1984, October). Electrodermal habituation in the
        detection of deception. Paper presented at the meeting of the Society for
        Psychophysiological Research, Milwaukee, WI.

1983

206. Honts, C. R., Raskin, D. C., & Kircher, J. C. (1983, September). Detection of deception:
       Effectiveness of physical countermeasures under high motivation conditions. Paper
       presented at the meeting of the Society for Psychophysiological Research, Pacific Grove,
       CA.

                                               36 of 56




                                                                     Appendix 7, Page 50 of 71
       Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25       Page 51 of 71



Charles R. Honts, Ph. D.                                                          Curriculum Vitae

1982

207. Honts, C. R. (1982, April). The interocular effect and specific thresholds for flicker. Paper
       presented at the Experimental Area Annual Research Fest, Department of Psychology,
       Virginia Polytechnic Institute and State University, Blacksburg.
208. Honts, C. R. & Hodes, R. L. (1982, October). The effect of simple physical countermeasures on
       the detection of deception. Paper presented at the meeting of the Society for
       Psychophysiological Research, Minneapolis, MN.
209. Honts, C. R. & Hodes, R. L. (1982, October). The effects of multiple physical countermeasures
       on the detection of deception. Paper presented at the meeting of the Society for
       Psychophysiological Research, Minneapolis, MN.

1981

210. Honts, C. R. (1981, April). Effects of instructions and feedback on the control of phasic
       electrodermal activity. Paper presented at the Experimental Area Annual Research Fest,
       Department of Psychology, Virginia Polytechnic Institute and State University, Blacksburg.



Public Addresses and Other Public Service Activities:

"Validity and reliability of detection of deception examinations in the laboratory and in the field."
   Bonneville Community Corrections Center, Salt Lake City, Utah, May 18, 1983.

"Countermeasures: The detection of attempts to defeat the polygraph test." Arizona Polygraph
   Association Seminar, Phoenix, Arizona, April 7, 1984.

"Commercial uses and abuses of the polygraph." Bountiful Area Chamber of Commerce, Bountiful,
   Utah, June 20, 1984.

"Countermeasures". The Third Annual colloquium on Polygraph Science and Methodology.
   Sponsored by: The Academy of Polygraph Science and Methodology and The Department of
   Psychology, University of North Carolina, Charlotte. June 3, 1985.

"Countermeasures, the directed lie control question, socialization, and other things." Canadian
   Association of Police Polygraphists Annual Seminar, Ottawa, Canada, August 21, 1986.

"The polygraph in 1987". The Intermountain Junior Science and Humanities Symposium.
   University of Utah, Salt Lake City, Utah, February 26, 1987.

"The ethics of the use of polygraph tests in the work place". Business Ethics Seminar, College of
   Business, University of Utah, Salt Lake City, Utah, August 3, 1987.

"A computer assisted polygraph system". Utah Polygraph Association, Salt Lake City, Utah,
   December 16, 1987.

"Countermeasures and psychophysiological patterning in the detection of deception". Department
   of Defense Polygraph Institute, Fort McClellan, Alabama, March 7, 1988.



                                                37 of 56




                                                                        Appendix 7, Page 51 of 71
     Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25      Page 52 of 71



Charles R. Honts, Ph. D.                                                       Curriculum Vitae

"Changes and future directions for the Department of Defense Polygraph Institute", Federal
   Interagency Polygraph Seminar, FBI Academy, Quantico, Virginia, June 6, 1989.

"Research in the detection of deception", Panel Discussion, Federal Interagency Polygraph Seminar,
   FBI Academy, Quantico, Virginia, June 9, 1989.

"The evaluation of psychophysiological data from polygraph examinations". United States Secret
   Service - 1989 Polygraph Conference, Washington, D. C., November 11, 1989.

"Validity of the positive control question test and the effects of countermeasures on the control
   question test". Naval Investigative Service Annual Polygraph Seminar, Department of Defense
   Polygraph Institute, Fort McClellan, Alabama. July 16, 1990.

"Topics in the detection of deception". Panel Discussion. The 21st Annual National Polygraph
   Workshop, Delta College, University Center, Michigan. May 10, 1991.

"The directed lie control question: Research and practice". The 21st Annual National Polygraph
   Workshop, Delta College, University Center, Michigan. May 10, 1991.

"Countermeasures and the detection of deception: Facts not fables". The 21st Annual National
   Polygraph Workshop, Delta College, University Center, Michigan. May 10, 1991.

"Credibility assessment with adults and children." Invited address to the North Dakota State's
   Attorneys Association. University of North Dakota Law School. February 11, 1994.

"Junk science in the courtroom." Presentation at the North Dakota Supreme Court Judicial
   Institute, University of North Dakota Law School, Grand Forks. May 23, 1994.

"New developments in the assessment of children's credibility." Presentation at the North Dakota
   Supreme Court Judicial Institute, University of North Dakota Law School, Grand Forks. May
   23, 1994.

"The polygraph in 1994." Presentation at the North Dakota Supreme Court Judicial Institute,
   University of North Dakota Law School, Grand Forks. May 24, 1994.

"Uses and abuses of polygraph test used in child sexual abuse litigation." Invited address at the
   Third International Conference of the National Child Abuse Defense and Resource Center,
   Cleveland, Ohio, September 22, 1994.

"Child witness credibility: Influence factors and methods of assessment." Invited address at the
   Third International Conference of the National Child Abuse Defense and Resource Center,
   Cleveland, Ohio, September 23, 1994.

"The child witness." Invited address at the Thirteenth Annual "Helen Hamilton Day" meetings at the
   University of North Dakota Law School. Sponsored by the University of North Dakota Law
   Women's Caucus. Grand Forks, North Dakota, May 1995.

"Legal admissibility of the polygraph in 1996", Invited presentation at the Federal Public Defender's
   Third Thursday meeting. Boise, Idaho, March 1996.

“The polygraph after Daubert”, Invited lectures at the Indiana Public Defender Council 1997 Death
   Penalty Seminar. Indianapolis, Indiana, September 1997.

                                              38 of 56




                                                                     Appendix 7, Page 52 of 71
     Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25     Page 53 of 71



Charles R. Honts, Ph. D.                                                      Curriculum Vitae

Hannity and Colmes, 3 November 1997, Appearance on nationally broadcast television show
  concerning Commonwealth v. Woodward. Fox News Network.

The Alan Colmes Show. Nationally syndicated radio talk show, 4 November 1997, Appearance on
   nationally broadcast radio talk show concerning Commonwealth v. Woodward.

The Victoria Jones Show. Nationally syndicated radio talk show, 4 November 1997, Appearance on
   nationally broadcast radio talk show concerning U. S. v. Scheffer before the U. S. Supreme
   Court, and Commonwealth v. Woodward.

KIVI News, 10 November 1997. Appearance on Boise evening news concerning Commonwealth v.
   Woodward.

KTVB News, 10 November 1997. Appearance on Boise evening news concerning Commonwealth v.
  Woodward.

KBCI News, 10 November 1997. Appearance on Boise evening news concerning Commonwealth v.
  Woodward.

German National Television, February 1998, Lugeudetektor, NTSC. Appearance on nationally
   broadcast documentary.

National Criminal Defense Lawyers Association, April 1998, What the Polygraph Can Do For Your
   Client: Scientific and Practical Aspects of the Polygraph After Daubert. Invited Address at the
   Spring Seminar, Santa Monica, California.

Washington Defenders' Conference, May 1998, Scientific Credibility Assessment: Life After Daubert
  and Scheffer. Two talks: Child Witnesses 1 May 1998, The Polygraph, 2 May 1998. Invited
  lectures at the annual conference. Sun Mountain Lodge, Winthrop, Washington.

Insight, The BBC World Service, November 1998, world-wide broadcast documentary.

Idaho Association of Criminal Defense Lawyers, March 1999, 1999 Winter Seminar: World Class
   Defenders & World Class Skiing. Repressed Memory: Junk Science in the Courtroom. Elkhorn
   Resort, Sun Valley, Idaho.

Idaho Association of Criminal Defense Lawyers, June 1999, The 1999 Spring Seminar. The
   Polygraph in Y2K. Idaho Falls, Idaho.

Deadline Discovery. January 31, 2001. Interview concerning the validity of Brain-fingerprinting.
   Broadcast on the Discovery Channel.

60 Minutes II, Final Exam with Scott Pelley, December 12, 2001, Feature on polygraph in national
   security. Broadcast on the CBS network.

Idaho Juvenile Corrections Management Team, May 21, 2002, The Polygraph: Basic issues
   regarding sex offender testing. Nampa, Idaho.

Juvenile Justice Advisory Team of Magistrate Judges, July 23, 2002, The Polygraph: Basic issues
   regarding sex offender testing. Boise, Idaho.



                                              39 of 56




                                                                     Appendix 7, Page 53 of 71
     Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25      Page 54 of 71



Charles R. Honts, Ph. D.                                                      Curriculum Vitae

Juvenile Corrections Board, August 16, 2002, The Polygraph: Basic issues regarding sex offender
   testing. Boise, Idaho.

Federal Public Defender's Third Thursday Meeting, September 19, 2002. Invited presentation,
   "Assessing the credibility of a child witness,” Boise, Idaho.

KCBI, Channel 2 News, 10 at 10. Interview and news feature concerning the validity of polygraph
  testing. July 28, 2003, Boise, Idaho.

KBSU, Boise State Public Radio, New Horizons in Education, Interview regarding the validity of
  polygraph testing. June 4, 2004, rebroadcast August 6, 2004.

Dateline NBC, appeared on the episode, The Mystery in Rock Hill, first broadcast, 9 July 2010.

World Wide Web Services:

Polygraph Law Resource Page, http://truth.boisestate.edu/polygraph/polylaw.html (1997-2012)

The Credibility Assessment and Witness Psychology List - CAAWP@listserv.boisestate.EDU
(1997-2007)

Workshops and Conferences Organized and/or Conducted:

The First Annual Psychology and Law Conference of the Psychology Department & the Division of
Continuing Education, University of North Dakota, Grand Forks, Co-Organized with Douglas Peters,
July, 1991

NATO Advanced Study Institute - The Child Witness in Context: Cognitive, Social, and Legal
Perspectives. IL Ciocco, Lucca, Italy. Executive Assistant to the Director, Douglas Peters
On-site Program Manager, May, 1992

Interviewing Children and Assessing Their Credibility. Workshop sponsored by the Ward County
(North Dakota) State's Attorney and the Ward County Social Service Board. Minot, North Dakota.
April, 1994.

NATO Advanced Study Institute - Credibility: International Perspectives on Assessment, Methods,
and Research. Director: Charles R. Honts, Organizing Committee: Marisa Alonso-Quecuty, Guenter
Koehnken, and Sven Svebak. Proposed for 1995, not funded.

The State of New Mexico. The polygraph in 1998: Advances in Polygraph Science. Continuing
education workshop for New Mexico Polygraph Examiners, Albuquerque, New Mexico, 18 and 19
April 1998. Partially funded by the State of New Mexico, Private Investigator and Polygraph Board.

The State of New Mexico. The polygraph in 1999: Advances in Polygraph Science. Continuing
education workshop for New Mexico Polygraph Examiners, Albuquerque, New Mexico, 20 and 21
March, 1999. Co-conducted with John C. Kircher, Ph. D. Partially funded by the State of New
Mexico, Private Investigator and Polygraph Board.

Court Appointed Special Advocate. Child witnesses: Credibility and its assessment. In service
training. Boise, Idaho 10 September 2001, 26 November 2002, 1 February 2005.

                                              40 of 56




                                                                    Appendix 7, Page 54 of 71
     Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25     Page 55 of 71



Charles R. Honts, Ph. D.                                                     Curriculum Vitae



Idaho Criminal Defense Lawyers Association, Invited CLE lecture, The Psychology of Confessions:
Issues and Concerns from Psychological Science. November 3, 2006, Boise, Idaho.

The State of New Mexico. The polygraph in 2007. Continuing education workshop for New Mexico
Polygraph Examiners, Albuquerque, New Mexico, January 20, 2007. Funded by the State of New
Mexico, Private Investigator and Polygraph Board. (8 hours of presentation.)

Mississippi Polygraph Association. The polygraph in 2007. Continuing education workshop for
Polygraph Examiners. Tunica Mississippi. (8 hours of presentation).

Credibility Assessment Research Summit (CARS) held by the Counterintelligence Field Activity
(CIFA), Combating Terrorism Technology Support Office (CTTSO), and the Defense Academy for
Credibility Assessment (DACA). Vienna, Virginia May 23-25, 2007, Member of the Organizing
Committee.

Texas Association of Law Enforcement Polygraph Investigators (TALEPI). 2007 Training Seminar.
Topics covered: False Confessions, Polygraph Technique Validation Studies, Utah Zone
Technique, Polygraph Countermeasures. Austin Texas, June 18 and 19, 2007. http://
www.talepi.org/07SeminarARC.pdf

Israeli Polygraph Examiners Association. 2008 Training Seminar. The Utah Approach to the
Comparison Question Test (6 hours) and Polygraph Countermeasures (2 hours), Dead Sea,
Israel, January, 18 and 19, 2008.

Credibility Assessment at Portals Workgroup held by the Defense Academy for Credibility
Assessment (DACA). McLean, Virginia, December 4 and 5, 2008.

Conducting research with the comparison question test. Workshop held at the Psychology
Department, John Jay College of Criminal Justice, New York, New York, 2 April 2009.

I provided continuing education instruction in an advanced polygraph course in Lexington, KY to a
group of 15 Singapore and Bruneian government examiners. During this course, I provided 16
hours of instruction on the topics of the Utah Technique, Utah Scoring System, Use of DLCs,
Countermeasures and False Confessions. (June 4-5, 2013).

I provided a day of continuing education instruction for Idaho Law Enforcement officers /
polygraph examiners in Boise, Idaho on the topics of Polygraph Countermeasures and the
Psychology of Confessions. Organized by Detective Travis Ruby, Ada County Sheriff’s Office.
(November 6, 2013).

Basic polygraph instrumentation and an introduction to polygraph testing. A workshop
provided for faculty and graduate students in the Department of Psychology, University of North
Dakota, Grand Forks, (November 17, 2014).

Evidence Based Interviewing Techniques, Seminar presented to law enforcement investigators
and polygraph examiners in Atlantic City, New Jersey, May 23-25, 2016 by Honts, Handler, and
Hartwig, LLC in association with the with New Jersey Polygraphists, Inc.




                                             41 of 56




                                                                    Appendix 7, Page 55 of 71
     Case 6:20-cv-01163-MTK         Document 387-7        Filed 07/07/25     Page 56 of 71



Charles R. Honts, Ph. D.                                                    Curriculum Vitae

Evidence Based Questioning Techniques, Seminar presented to forensic professionals at Boise
State University, May 31 and June 1, 2017. Co-sponsored by the Global Institute of Forensic
Research, Honts, Handler, and Hartwig, LLC., and the Department of Psychological Science of Boise
State University.

Online Courses:

Evidence-Based Interviewing Practices, Online continuing education (9 CE credits) training
offered by the Global Institute of Forensic Research https://www.gifrinc.com/interviewing-
practices/ Presented by Charles R. Honts, Mark Handler and Maria Hartwig.
First available in August 2017.

Editorial Activities:

Founder and Editor of:
The Journal of Credibility Assessment and Witness Psychology           1996-2010
Polygraph-Law Resource Page                                            1996-2011

Associate Editor, Polygraph & Forensic Credibility Assessment:         1988-1990, 2015-23
A Journal of Science and Field Practice (Formerly, Polygraph)

Member of the Editorial Board,

Forensic Reports                                                       1991-1992
European Polygraph                                                     2008-2013


Ad Hoc Editorial Consultant:

American Psychological Society, Convention Proposal Reviewer           1993
American Psychology - Law Society, Convention Proposal Reviewer        1993, 04, 12, 13
American Psychological Association Convention Proposal Reviewer        2004
American Psychological Association Book Reviewer                       2009
Applied Cognitive Psychology                                           2001, 06(3), 07, 08, 09, 15
Applied Developmental Science                                          2001
Arab Journal of Forensic Sciences and Forensic Medicine                2016
Behavioral Sciences and the Law                                        1996
Crime Laboratory Digest                                                1993
Criminal Justice and Behavior                                          2002, 2004, 2005
Cognitive Research: Principles and Implications                        2018
Decepticon: International Conference on Deceptive Behavior             2015
Cambridge, United Kingdom, paper reviews
Developmental Psychology                                               1995
Forensic Science Communications Review                                 2000, 01, 03
Journal of Applied Psychology                                          1992, 93, 00, 02, 03
Journal of Applied Research in Memory and Cognition                    2014
Journal of Experimental Psychology: General                            2002, 2004
Journal of Experimental Psychology: Applied                            2003, 04-07, 10
Journal of Forensic Sciences                                           2002, 07

                                             42 of 56




                                                                   Appendix 7, Page 56 of 71
     Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25     Page 57 of 71



Charles R. Honts, Ph. D.                                                      Curriculum Vitae

Journal of General Psychology                                            1998
Journal of Personality and Social Psychology                             1991 thru 1998
Journal of Personality and Social Psychology: Personality Processes
  and Individual Differences                                             2004
Journal of Physiology and Behavior                                       2007, 2008
Journal of Psychophysiology                                              1999
Law and Human Behavior                                                   1994, 2004, 05, 06(2)
                                                                         07(4), 08, 12, 15, 16, 17,
                                                                         18(2)
Learning and Motivation                                                  2015
Legal and Criminological Psychology                                      2006
Medical Sciences                                                         2016
Nature                                                                   2001
Nordic Psychology                                                        2013
New York University Press                                                2009
Perceptual and Motor Skills                                              2013
Perspectives on Psychological Science                                    2015
Physiology and Behavior                                                  2014
Psychology, Crime & Law                                                  2011
Psychology, Public Policy, & Law                                         2007, 09, 10, 11
Psychological Bulletin                                                   1993, 94, & 99
Psychological Science                                                    2014, 17
Psychophysiology                                                         1995, 98, 99, & 04
Rocky Mountain Psychological Association Program Committee               1987, 88, 99, 02
Social Science and Humanities Open                                       2019
Worth Publishing, book chapter reviewer                                  2012

Grant Proposal/Report Reviewer:

National Science Foundation                                              1997, 2001
European Science Foundation                                              2009
Israel Science Foundation                                                2011, 2018
Department of Defense Polygraph Institute                                2001, 02, 03, 04(2)
National Center for Credibility Assessment                               2011
Social Sciences and Humanities Research Council of Canada                2004, 05, 06, 13

Student Supervision:

Psychology Department, University of North Dakota

Doctoral Committees (Chair):

Martine Mizwa. Validation of the victim empathy scale. Completed: August 1993

Mary Devitt, Time and suggestion by significant persons: Effects on memory for complete events.
  Completed: May 1995

Susan Amato. Effects of misinformation on the concealed knowledge test. Completed, April 1996.




                                              43 of 56




                                                                      Appendix 7, Page 57 of 71
     Case 6:20-cv-01163-MTK            Document 387-7         Filed 07/07/25      Page 58 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

Marcia Moberg. The utility of statement validity assessment in differentiating between false reports
  and true memories in children. Completed December 1999.

Marcus Tye. Effects of brief training in statement validity assessment on the ability of lay evaluators
  to determine the truthfulness of children's statements. Completed, April, 1996.

Member: Jacqueline Brouse, Anne Dowrenwend, Nasrin Erfanian, Ron Hougen, Jeff Kearney,
  Maria Kearney, Sally Kennedy, Arlinda Kristjanson, Cami Lokken, Don Newberry, Kate
  Onyeneho, Marty Witucki

Master's Committees (Chair):

Sheila Rydell, Defendant occupation and victim resistance as mediators of attributions of
   responsibility for rape. Completed : July, 1992.

Mary Devitt, A study of the relative accuracy of discriminant analysis, logistic regression, and back
  propagation neural network classifiers in a psychophysiological detection of deception problem.
  Completed: August, 1992.

Susan Amato, A survey of member of the Society for Psychophysiological Research regarding the
   polygraph: Opinions and implications. Completed: December 1993.

Marcia Moberg, A study of differential effects of defense and prosecution expert witnesses.
  Completed : August 1993.

Marcus Tye, Criteria-based content analysis of children's statements about a mock crime compared
  with the evaluations of naive subjects. Completed May 1994.

Lynelle Vondergeest, Juror decision making. Completed: May 1995.

Steven Westby, General media publicity and jury deliberations. Completed: July 1994.

Member: Jean Caraway, Brent Gillund, Heidi Jensen, Jeff Kearney, Don Newberry, Margo Norton,
  Gail Robbins, Shannan McKenzie

Senior Thesis Committees (Chair):

Randy Telander, Bingo, who is playing and why? Completed: May 1995.

Lynelle Vondergeest, Effects of juror and expert witness gender on jurors' perceptions of the expert
   witness. Completed: February, 1992.

Marcus Winbush. Countermeasures and the guilty knowledge test. Completed: May 1993.

Member: Margo Adams, Keri Anderson, Shelly Kumru




                                                44 of 56




                                                                       Appendix 7, Page 58 of 71
     Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25       Page 59 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

Boise State University, Department of Psychological Science

Senior Thesis

Katieann Skogsberg, Case studies of EEG biofeedback training using a measurement of affect.
Completed May 2003. (Chair).

Ginny Gragg, Boostrapping the polygraph. Completed: May 1999. (Chair)

Cara Lundquist (1999).

Wendy Alloway. The effects of internet information on the validity of the TES. Thesis project for AY
2001-2002 (Chair).

Andrea Webb (2002). The effects of age, gender, religion, and religious strength on obedience to
authority: A comparative study. Honor’s Thesis. Completed May 2002. (Member).

Julie Crow (2006). Treatment of sex offenders. Honor’s Thesis. Completed May 2006. (Chair)

Master’s

Jacob Schiess (2017). Potential jurors’ perceptions of polygraphs in court. (Department of Criminal
Justice, Member).

Post-Doctoral

Anne Gordon, Ph. D. (1998 - 2000)
Racheal Reavy, Ph. D. (2008 - 2009)

Doctoral

Paul Bernhardt (2005; University of Utah). Effects of Prior Demonstrations of Polygraph Accuracy on
Outcomes of Probable-lie and Directed-lie Polygraph Tests. (Member)

Andrea Webb (2008; University of Utah). Effects of Motivation and Item Difficulty On
Oculomotor and Behavioral Measures of Deception. (Member)

Aria Amrom (2020; John Jay College of Criminal Justice). Does Exposure to Interviewer Feedback
Bias Observer Perceptions of the Suspect? A Test of Two Pathways to a Feedback Effect. (Member)

University Instruction:

Department of Psychology, Boise State University

Research Methods                                                                  1995-2000, 10, 11
Introduction to Statistics                                                        1996, 04, 05
Psychology and Law                                                                1998-2018, 2020,
                                                                                  2021
General Psychology (Large Lecture with TAs)                                       1999, 01, 04, 19,
                                                                                  2020, 2021
                                               45 of 56




                                                                       Appendix 7, Page 59 of 71
     Case 6:20-cv-01163-MTK            Document 387-7     Filed 07/07/25       Page 60 of 71



Charles R. Honts, Ph. D.                                                      Curriculum Vitae

General Psychology (Small Section)                                             2002
Physiological Psychology                                                       2000, 2005-12
Cognitive Psychology                                                           2001
Learning Theory                                                                2007
History and Systems in Psychology                                              2009-14
Industrial/Organizational Psychology                                           2012-19
The Biological Bases of Behavior                                               2013, 2015-18
Personality Theories                                                           2014-15

Psychology Department, University of North Dakota

Introductory Psychology (Large Lecture with 2 TAs)                             1990-91-92
Introduction to Statistics (Large Lecture with 2 TAs)                          1990-91-93-94
Industrial & Organizational Psychology                                         1991-92-94-95
Introduction to Personality Theory                                             1991
Advanced Univariate Statistics + Research Design (Graduate Course)             1991 thru 1995
Cognitive and Affective Bases of Behavior (Graduate Course)                    1993-95
Theories of Personality (Graduate Course)                                      1993-95
Psychology and Law (Graduate Seminar)                                          1992
Advanced Topics in Research Design and Statistics (Graduate Seminar)           1994

Psychology Department, University of Utah

Detection of Deception Workshop (Annual)                                       1982-1987
Sensation & Perception                                                         1984-85-87
Theories of Personality                                                        1985-87
Research Methods, with Laboratory                                              1986
Introduction to Psychology (Large Section with 1 TA)                           1987
Statistical Methods in Psychology                                              1988

Department of Psychology, Virginia Polytechnic Institute and State University

Introductory Psychology Laboratory                                             1981
Sensation Laboratory                                                           1981
Perception Laboratory                                                          1982
Teaching Fellow for History and Systems in Psychology                          1982

Department of Psychology, Jacksonville State University and the
Department of Defense Polygraph Institute joint Master's Degree Program

Psychological Bases of the Detection of Deception (Graduate Course)            1989
Psychophysiological Assessment (Graduate Course)                               1990




                                              46 of 56




                                                                      Appendix 7, Page 60 of 71
     Case 6:20-cv-01163-MTK          Document 387-7        Filed 07/07/25     Page 61 of 71



Charles R. Honts, Ph. D.                                                     Curriculum Vitae

Other Professional Instruction:

Arizona School of Polygraph Science

Psychology and Physiology in the Basic Polygraph Examiner Course              1985-88, 91

Canadian Police College

Psychophysiology, Psychopharmacology, Polygraph Research,                     1986 88 90-98
Numerical Scoring for the Basic Polygraph Examiner Course

Center for Professional Development, The Air University at Maxwell AFB

Guest Instructor in the Advanced Trial Advocacy Course (ATAC)                 1989-90

Department of Defense Polygraph Institute, Fort McClellan, Alabama

Research Methods, Basic Polygraph Examiner Course                              1989
Instructor, Courtroom Testimony Course                                         1990


Federal Bureau of Investigation, FBI Academy, Quantico, Virginia

Advanced Topics in Detection of Deception                                      1989

Utah Academy of Forensic Polygraph, Orem Utah

Instructor, Advanced Topics in Detection of Deception                          1983

Professional Organizations:

Association for Psychological Science (formerly American Psychological
Society; Charter Member; Fellow, 2006)                                   Joined: 1989
American Psychological Association                                       Joined: 1984
American Psychology - Law Society                                        Joined: 1987
Rock Mountain Psychological Association (Lifetime Member)                Joined: 1987
Society for Psychophysiological Research                                 1981 to 1997

Psychology Department Committee Service, University of North Dakota:

Graduate Admissions                                                      90/91 - 92/93
Colloquium                                                               1990 to 1992
Departmental Resources                                                   1991/92
Personnel (Chair)                                                        1991/92
Faculty Evaluation                                                       1992/93




                                             47 of 56




                                                                    Appendix 7, Page 61 of 71
     Case 6:20-cv-01163-MTK          Document 387-7       Filed 07/07/25     Page 62 of 71



Charles R. Honts, Ph. D.                                                     Curriculum Vitae

Psychology Department Committee Service, Boise State University:

Tenure and Promotion Full (COAS)                                         2016, 2017
Tenure and Promotion Associate (COAS)                                    2016
Tenure and Promotion (SSPA)                                              1996/97/11/12
Curriculum (College)                                                     1997/98
Faculty Development (Senate)                                             1997/98
Personnel (Department)                                                   98/99/00/03/04/06/
                                                                         10-18
Dean's Research Awards Committee                                         2000/01/04
General Psychology Subject Pool (Department)                             00/01/03/04-08
SSPA Dean’s Evaluation Committee (University)                            2003, 12
Webmaster SONA/Experiment Management System                              2008-11
Department Head Search Committee (Chair)                                 2013
Faculty Search (Cognitive) Committee (Chair)                             2015
College of Arts and Sciences Promotion and Tenure Committee              2016
Professional Licensing:

Commonwealth of Virginia, Polygraph Examiner, Certificate #310, Inactive.
Issued: 7 June 1977

State of Utah, Detection of Deception Examiner, License #860065, Inactive.
Issued 1 January 1983

State of North Dakota, Detection of Deception Examiner, D-0025
Issued 6 October 1992 through 2007. Inactive.

State of New Mexico, Detection of Deception Examiner, 152 Y Issued 1 July 1995 through
September 2021


Consultations for Public Agencies:

Arizona Department of Public Safety
Indiana State Police
Idaho Department of Health and Welfare: Family and Children’s Services
Inspector General, State of Utah
Inspector General, State of Oklahoma
Police Department, Duchesne County; Utah
Police Department, Fargo, North Dakota
Police Department, Lincoln County; Wyoming
Police Department, University of Utah
Police Department, West Valley City, Utah
Quebec Provincial Police
Royal Canadian Mounted Police
United States Secret Service
United States Air Force Office of Special Investigations




                                             48 of 56




                                                                   Appendix 7, Page 62 of 71
      Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25       Page 63 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

Expert Witness Testimony:

1.    Alamogordo, New Mexico. New Mexico Board of Education, Appeals, August 19, 1983
      (Polygraph)
2.    Los Angeles, California. United States vs. DeLorean. Federal District Court, November 23, 1983
      (Polygraph Admissibility Hearing).
3.    Carson City, Nevada. Nevada Gaming Control Board, February 7, 1984 (Polygraph)
4.    Davis County, Utah District Court, August 13, 1984 (Polygraph)
5.    Salt Lake County, Utah District Court, September 26, 1984 (Polygraph)
6.    Utah Medical Association, Grievance Committee, February 28, 1985 (Polygraph)
7.    Box Elder County, Utah District Court, March 15, 1985 (Polygraph)
8.    Campbell County Court, Gillette, Wyoming, May 17, 1985 (Polygraph)
9.    Duchesne County, Utah District Court, September 24, 1985 (Polygraph)
10.   Salt Lake County, Utah District Court, November 6, 1985 (Polygraph)
11.   Bernalillo County, New Mexico District Court, August 1, 1986 (Polygraph)
12.   Quebec Provincial Court, District of Terrebonne, Canada, June 29,1993 (Jury Trial: False
      Confession & the polygraph).
13.   Troop County, Georgia State Court, August 20, 1993, Georgia v. Rilling. (Polygraph hearing.)
14.   Sweetwater County, Wyoming District Court, October 29, 1993, Wyoming v. Muniz,
      CR-9212-0035 (Jury Trial: Statement Analysis and Child Witness Issues)
15.   East Saint Louis, IL., Federal District Court, November 18, 1993, U. S. v. Davis, Criminal No.
      93-30003-WLB (Deposition: False Confession & the Polygraph)
16.   Hubbard County, Minnesota, District Court, April 5, 1994 In the matter of the welfare of
      Timothy John Schmid, No. J7-93-50113 (Jury Trial: Statement Analysis and Child Witness
      Issues)
17.   Santa Fe, New Mexico, Federal District Court, March 10, 1995, U. S. v. Galbreth, Criminal No.
      94-197 MV (Polygraph hearing)
18.   Clarke County, Superior Court, Athens Georgia, April 7, 1995, (Polygraph hearing)
19.   Bismarck, ND, Federal District Court, May 25, 1995, U. S. v. Poitra, No. ALL 94-02 (Statement
      Analysis with Child Witnesses hearing)
20.   Bernalillo County, New Mexico District Court, September 12, 1995, New Mexico v. Harris, No.
      CR 92-01433 (Jury Trial: Polygraph)
21.   Ada County, Idaho District Court, Griffith v. Melgaard, November 17, 1995 (Jury Trial:
      Polygraph, at trial)
22.   Ada County, Idaho District Court, Griffith v. Melgaard, November 22, 1995 (Jury Trial:
      Polygraph and Child Witness Issues, at trial)
23.   Savanah, Georgia, United States District Court, July 11, 1996, U. S. v. Gilliard, No.
      CR-196-019 (Polygraph hearing)
24.   Colorado Springs, Colorado, District Court, September 3, 1996, David Law v. City of Colorado
      Springs et al., Civil Action No. 92CV0896 (Jury Trial: Polygraph)
25.   Alameda, California, District Court, October 8, 1996 People v. Winger, No. 128040A (Polygraph
      hearing)


                                                49 of 56




                                                                       Appendix 7, Page 63 of 71
      Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25      Page 64 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

26.   Lafayette, Louisiana, United States District Court, November 12, 1996, U. S. v. Callier
      (Polygraph hearing).
27.   Thermopolis, Wyoming, District Court, LaBoy v. Upton, 1996 (Jury Trial: Polygraph).
28.   Sandy, Utah, Utah District Court, February 24, 1997, Utah v. Rappleye (Jury Trial: Child
      Witness Issues)
29.   Lincoln, Nebraska, United States District Court, 8 April 1997, Richter v. Bartee, No. 4:
      CV95-3309 via telephone (Polygraph, post-conviction hearing.)
30.   Cambridge, Massachusetts, Superior Court, July 14, 1997, Commonwealth v. Woodward, No.
      97-433 (Polygraph hearing)
31.   Martinsville, Indiana, District Court, December 15, 1997, Indiana v. Hubbard, CAUSE NO:
      55C01-9612-CF-271 (Polygraph hearing)
32.   Bisbee, Arizona, Cochise County Superior Court, February 5, 1998, Arizona v. Sebastian, No.
      CR97000030via telephone (Polygraph hearing)
33.   Albuquerque, New Mexico, New Mexico District Court, February 17, 1998, New Mexico v.
      Mann, CR No. 96-2874 (Jury Trial: Polygraph)
34.   Fairfax, Virginia, Circuit Court of Fairfax, 4 March 1998, Commonwealth v. Iliff. (Child Witness
      Issues, admissibility hearing)
35.   Cambridge, Massachusetts, Superior Court, 19 March 1998, Commonwealth v. Henry, Nos.
      96-129 (001-002). (Polygraph hearing)
36.   Phoenix, Arizona, United States District Court, 31 March 1998, U. S. v. Guyer. (Polygraph
      hearing)
37.   Santa Ana, California, United States District Court, U. S. v. Gillett, SA CR 97-70-AHS 10 July
      98. (Polygraph hearing).
38.   Colorado Springs, Colorado, District Court, 17 July 98, Colorado v. Morgan. (Polygraph
      hearing)
39.   Colorado Springs, Colorado, District Court, 21 July 98, Colorado v. Morgan. (Jury Trial: Child
      Witness Issues)
40.   Tucson, Arizona, United States District Court, 20 October 98. U.S. v. Benavidez-Benavidez,
      Case No. Cr 98-674-TUC-FRZ, U.S. v. Pisciotta (Combined Polygraph Hearing)
41.   Pocatello, Idaho, District Court, 23 October 98. Idaho v. Wilkins, Case No. CRFE 98-00284B
      (Polygraph hearing)
42.   Portage County, Ohio, The Ohio Court of Common Pleas, 30 April 1999. State v. Resh, Case
      No. 90 CR 0068, and State v. Gondor, Case No. 90 CR 0067 (Polygraph, post conviction
      evidentiary hearing, cases consolidated)
43.   Columbus, Ohio, Franklin County Court, 27 August 1999. State v. Nichols, Case No.
      95CR-4299. (Jury Trial: Polygraph)
44.   Indianapolis, Indiana, 14 October 1999, via telephone. Indiana v. Ben-Yisrayl. Sworn
      testimony as an offer of proof in death penalty appeal (Polygraph).
45.   Idaho Falls, Idaho, 25 October 1999, Idaho District Court, Idaho v. Welch, Case No.
      CR-99-2362 Additional testimony given in the same case on 12 November 1999 (Polygraph
      Hearing).
46.   Springfield, Massachusetts, 18 and 19 November 1999, Superior Court, Hampden, ss,
      Commonwealth v. Slonka, Case Nos. 91-1479 & 91-1480. (Polygraph Hearing).



                                                50 of 56




                                                                       Appendix 7, Page 64 of 71
      Case 6:20-cv-01163-MTK           Document 387-7        Filed 07/07/25      Page 65 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

47.   Albuquerque, New Mexico, 24 August 2000, 9th Judicial District Court, State of New Mexico v.
      Eddie Taylor. No. D-905-CR-99000118. (Polygraph Hearing, Telephone).
48.   Denver, Colorado, 14 August 2000, People v. Nathan Dunlap, Case No. 95CR605, Arapahoe
      County District Court. Rule 35 motion for post-conviction review. (Polygraph)
49.   Dallas, Texas, 6 September 2000, Morse et al., v. Henson et al. Sworn deposition. (Polygraph)
50.   Boston, Massachusetts, 19 September 2000, Commonwealth v. Toro, Case No, 81-035974, 74.
      (Polygraph Hearing).
51.   Albuquerque, New Mexico, 17 Nov 2000, 9th Judicial District Court, State of New Mexico v.
      Eddie Taylor. No. D-905-CR-99000118. (Polygraph Hearing, Telephone).
52.   Coeur d'Alene, Idaho, 7 Feb 2001, First Judicial District (Kootenai County), State of Idaho v.
      Mitch Cougar, Case No. CRF 99-07211. (Jury Trial: Polygraph)
53.   Ogden, Utah, 25 April 2001, Second Judicial District, Sate of Utah v. Phillip Christiansen.
      (Jury Trial: Child Witness Issues).
54.   Santa Fe, New Mexico, 9 August 2001, First Judicial District, In the Matter of M-S, #JQ-01-09
      (Bench Trial: Polygraph).
55.   Boise, Idaho, 11 March 2002, Idaho v. Shaver, Ada County Sentencing hearing. (Polygraph).
56.   Bradenton, Florida, 11 October 2002, State of Florida v. William T. Stacks, Case no. 2001 CF
      2419. Deposition via satellite. (Polygraph Malpractice).
57.   Mount Holly, New Jersey, 24 October 2002, State of New Jersey v. Patrick Free, Indictment No.
      98-06-0397-I. (Polygraph Malpractice, False Confession).
58.   Bradenton, Florida, 26 November 2002, State of Florida v. William T. Stacks, Case no. 2001 CF
      2419. (Deposition via satellite Polygraph Malpractice).
59.   Las Cruces, New Mexico, 16 and 17 January 2003. State of New Mexico v. Kevin Lee, Cause
      No. F-01-10-1029 Dona Ana County. (Daubert Hearing, Polygraph.)
60.   Caldwell, Idaho, 29 January 2003. State of Idaho v. Joshua King. Canyon County. Sentencing
      Hearing (Polygraph.)
61.   Nezperce, Idaho, 23 April 2003. State of Idaho v. Craig T. Perry. District Court of Lewis
      County, Case No. CR-02-00082. (Daubert Hearing, Polygraph.)
62.   Lexington, Kentucky, 22 May 2003 and 14 July 2003. Commonwealth of Kentucky v. Harold I.
      Stone, Jr., Case Number: 01-CR-00001. (Daubert Hearing, Polygraph).
63.   Albuquerque, New Mexico, 2 and 3 July 2003. Kevin Lee, et al., Petitioners, v. Hon. Lourdes
      Martinez, Respondents, County of Bernalillo, State of New Mexico, Second Judicial District
      Court, No. CS-2003-00026 (Supreme Court No. 27,915 special combined Daubert Hearing,
      Polygraph.)
64.   Caldwell, Idaho, 24 July 2003 (hearing/offer of proof) and 25 July 2003 (testimony before the
      jury). Idaho v. Sarah Pearce, Case #03-5092C. (Jury Trial: Eyewitness Memory)
65.   Tucson, Arizona, 31 July 2003, Jacquelyn Smith, Severance Hearing (testimony by telephone,
      Polygraph)
66.   Perth, Western Australia, 29 August 2003, Between Andrew Mark Mallard and The Queen, in
      the Supreme Court of Western Australia, Court of Criminal Appeal, CCA 135 of 2002.
      Testimony via satellite. (Polygraph Hearing).
67.   Boise, Idaho, 10 March 2004, Idaho v. Michael Roberts, Case No. H0300981. (Sentencing
      hearing, Polygraph)



                                                51 of 56




                                                                       Appendix 7, Page 65 of 71
      Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25      Page 66 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

68.   Rapid City, South Dakota, 2 September 2004, United States v. Jonas Seth Not Help Him, CR
      04-50004. (Suppression hearing, Interrogation techniques and false confession)
69.   York, South Carolina, 16 September 2004, State of South Carolina v. Billy Wayne Cope, Case
      Nos. H-023255; H-023258; H-023259; H-023260; H-023262; H-023263; H-023275;
      H-023276; H-023277; H-023278: H-509259. (Jury Trial: Polygraph)
70.   Rapid City, South Dakota, 22 September 2004, United States v. Jonas Seth Not Help Him, CR
      04-50004. (Jury Trial. Interrogation techniques)
71.   Boise, Idaho, 18 April 2005, State of Idaho v. Daniel Levitt. (Probation Violation Hearing,
      Polygraph and False Confession)
72.   Boise, Idaho 27 April 2005, State of Iowa v. Jaun Macias Criminal No. FECR052969 Iowa
      District Court for Woodbury County. (Deposition regarding polygraph malpractice.)
73.   Atlanta, Georgia 8 & 9 September 2005, United States v. Ricardo Cortez Williams, Criminal
      Action No. 1:03-CR-636-JEC, In The United States District Court For The Northern District Of
      Georgia, Atlanta Division. (Daubert Hearing, Polygraph)
74.   Mineola, Nassau County, New York, 17 November 2005, The People of the State of New York v.
      John Kogut, Indictment 61029, Supreme Court of the State of New York, County of Nassau.
      (Bench Trial, Polygraph Malpractice).
75.   Albuquerque, New Mexico, 9 February 2006, State of New Mexico v. Mario Lucas Chavez, No.
      CR-04-03558, Second Judicial District Court, County of Bernalillo. (Jury Trial, Polygraph)
76.   Caldwell, Idaho, 11 July 2006 Idaho v. Sarah Pearce, Idaho Supreme Court docket #30502,
      case #03-5092C, evidentiary proceeding for the district court to take proffered testimony
      pursuant to a limited remand from the Idaho Court of Appeals. (Eyewitness Identification
      Procedures).
77.   Caldwell, Idaho, 28 March 2007 Idaho v. Jeremy Hall, CR# 06-23125, Canyon County.
      (Daubert hearing and testimony before the jury, Interrogation and False Confession).
78.   Santa Fe, New Mexico, 10 October 2007. City of Santa Fe v. Thomas K. Reed. Municipal
      Court of Santa Fe, New Mexico. (Jury Trial: Polygraph).
79.   Payette, Idaho, 12 February 2008, Idaho v. Dale Morris Kyle, Sr., Payette County District
      Court, (Pre-trial Motions Hearing; Polygraph).
80.   Rapid City, South Dakota, 11 September 2008, U.S. v Benjamin High Horse, CR 07-50091
      (Suppression Hearing, testimony given by telephone; False Confession and Polygraph).
81.   Waukegan, Illinois, 13 November 2008, People of the State of Illinois v. Jaun Rivera, No. 92 CF
      2751 (Suppression Hearing, False Confession and Polygraph).
82.   Boise, Idaho, 8 June 2009, Laura Lee vs. Mahendra Gupta. M.D and Linton Hospital. d/b/a
      Linton Medical Center. Case No. 15-06-C-00057, Civil No: 06-C-57, State of North Dakota in
      District Court, County of Emmons, South Central Judicial District. (Deposition by telephone)
83.   Flagstaff, Arizona, 24 June 2009, State of Arizona vs. Daphne Henry, CR2009-0165
      (Coconino County, AZ) (Suppression Hearing, False Confession and Polygraph) by telephone.
84.   Sante Fe, New Mexico, 25 June 2009. State of New Mexico v. Steven James Cordova.
      Testimony before the Grand Jury. (Polygraph).
85.   Caldwell, Idaho, 3 November 2009. State of Idaho v. Christopher James Latham,
      CR-2008-24561-C. Third Judicial District Court of the State of Idaho (Daubert Hearing,
      Interrogation and False Confession).




                                                52 of 56




                                                                        Appendix 7, Page 66 of 71
      Case 6:20-cv-01163-MTK          Document 387-7         Filed 07/07/25      Page 67 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

86.   Caldwell, Idaho, 6 November 2009. State of Idaho v. Christopher James Latham,
      CR-2008-24561-C. Third Judicial District Court of the State of Idaho (Jury Trial, Interrogation
      and False Confession).
87.   Boise, Idaho, 9 June 2010, State of Idaho v. Nolan. Hearing concerning the admissibility of
      expert testimony on eyewitness factors. Juvenile Court.
88.   Conway, South Carolina, 11 January 2011. State of South Carolina, County of Horry v. Robert
      Andrew Palmer. In the Court of General Sessions, Case Nos. 10G-GS 02196/02195 and 08-
      GS-26-04120 (Daubert Hearing on Polygraph Admissibility).
89.   Clovis, New Mexico, 28 March 2011. State v. Lonzell Wiggins; D-0905-CR-200900892, Ninth
      Judicial District Court-Curry County, Clovis, NM (Rule 11-707 Hearing on the Polygraph, by
      telephone).
90.   Boise, Idaho, 31 May 2011, Stephan Cordova v. City of Albuquerque, No. CV-2009-15455, State
      of New Mexico, County of Bernalillo, Second Judicial District Court. (Deposition, Polygraph).
91.   Clovis, New Mexico, 3 November 2011. State v. Lonzell Wiggins; D-0905-CR-200900892, Ninth
      Judicial District Court-Curry County, Clovis, NM (Jury Trial, Polygraph).
92.   Vernal, Utah, 7 November 2011. State of Utah, in the interest of Crow, Kes DOB 04/17/2007, A
      minor child, Family Court. (Jury Trial: Child witness issues)
93.   Albuquerque, New Mexico 8 August 2012. State of New Mexico v. Grand Jury Target (MT), DA
      # 2009-01672-1. (Testimony before the Grand Jury concerning a polygraph result.)
94.   Albuquerque, New Mexico 14 August 2012. Melissa Gutierrez vs. Barbara Germain Killian,
      Unemployment Compensation Appeal New Mexico Department of Workforce Solutions Appeals
      Tribunal (Testimony concerning a polygraph result.)
95.   Huntsville, Missouri, 17 September 2012, State v. Roland, Randolph County Case No. 12RA-
      CR00073-01. Randolph County Court, (Suppression Hearing, Polygraph and False Confession).
96.   Juneau, Alaska, 20 November 2012, State of Alaska v. Joseph Randall Dennis, Case No.
      1JU-12-21 CR, (Jury Trial, Child Witness Interviews).
97.   Morehead, Kentucky, 27 November 2012, Commonwealth of Kentucky vs Ronald Christopher
      Fairchild, No. 12-CR-238, Rowan Circuit Court (Jury Trial, Polygraph Malpractice and False
      Confessions).
98.   Kamloops, British Columbia, Canada, 9 April 2013, Regina vs. Adams, Carry and Correia,
      Court File No., 28732 in the Supreme Court of British Columbia. Testimony concerning the use
      of polygraph with informants (Suppression Hearing) via video link from Boise Idaho.
99.   Washington, DC, 22 April 2013, United States Department of Energy Administrative Hearing,
      designation PSH-12-0144 (Sworn Presentation of Polygraph Examination Results via telephone
      from Boise, Idaho.)
100. Boise, Idaho, 29 April 2013, Livers v. Schenck, et al. No. 8:08 C 107, In the United States
     District Court for the District of Nebraska. Sworn Deposition taken at the offices of the
     Attorney General of the State of Idaho. (Polygraph malpractice resulting in a false confession).
101. Boise, Idaho, 30 July 2013, State of Idaho vs. Patrick I. Rodriguez, Case No. CR-
     FE-2012-13989. (Sentencing hearing, Polygraph)
102. Gallup, New Mexico, 20 November 2013, State of New Mexico vs. John Mayes, Case No.
     D-1116-CR-201100780 - 1, (Jury Trial, Polygraph).
103. Idaho Falls, Idaho, 16 April 2014, State of Idaho vs. Leroy Wayne Simpson, Case No.
     CR-2013-10350. Suppression hearing via video link from Boise, Idaho. (False Confession)



                                               53 of 56




                                                                      Appendix 7, Page 67 of 71
     Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25      Page 68 of 71



Charles R. Honts, Ph. D.                                                        Curriculum Vitae

104. Boise, Idaho, 28 May 2014, Jeffrey Deskovic vs. City of Peekskill, No. CV-07-8150, United State
     District Court Southern District of New York (Deposition, Polygraph malpractice resulting in a
     false confession).
105. Clayton, Missouri, 16 July 2014, State of Missouri vs. Shermell Crockett. Case No. 12SL-
     CR05127, Saint Louis County Court. Suppression hearing. (False Confession)
106. Clayton, Missouri, 7 August 2014, State of Missouri vs. Shermell Crockett. Case No. 12SL-
     CR05127, Saint Louis County Court. Suppression hearing continuation. (False Confession by
     telephone)
107. White Plains, New York, 15 October 2014, Jeffrey Deskovic v. Putnam County and Daniel
     Stephens, United States District Court, Southern District of New York, Case No. 07-CV-8150
     (Jury Trial: Polygraph malpractice resulting in a false confession).
108. St. Albans, Vermont 19 November 2014, State of Vermont v. Kevin W. Stanley, Docket No.
     1056-8-08 Frcr. Testimony by telephone. (Hearing regarding problems with post-conviction sex
     offender polygraph testing.)
109. Lihue, Kauai, Hawaii, 30 January 2015, State of Hawaii v. Dean C. Wilson, CR. No.
     12-1-0345, In the Circuit Court of the Fifth Circuit, State of Hawaii. (Polygraph Admissibility
     Hearing)
110. Coeur d’ Alene, Idaho, 5 Feb 2015, First Judicial District (Kootenai County), State of Idaho v.
     Daniel Abram Taylor, Case No. CR-2013-0024363. (Jury Trial, False Confessions).
111. Lihue, Kauai, Hawaii, 6 March 2015, State of Hawaii v. Dean C. Wilson, CR. No. 12-1-0345, in
     the Circuit Court of the Fifth Circuit, State of Hawaii. (Polygraph Admissibility Hearing,
     conclusion of testimony #109.)
112. Fort Bragg, North Carolina, 7 April 2015, United States v. Dobbins, Jason P. SSG, U.S. Army, in
     the Second Judicial Circuit, U.S. Army. (Testimony by telephone in a hearing on a motion to
     compel expert assistance.)
113. Clarksville, Tennessee, 16 April 2015, State of Tennessee v. Keven Yaepez, Docket No.
     441300576. (Suppression hearing, false confessions and psychological coercion)
114. Iowa City, Iowa, 17 August 2015, State of Iowa v. Tristan Loughran. (Deposition by telephone
     concerning polygraph malpractice and false confessions.)
115. St. Louis County, Missouri, 18 September 2015, State of Missouri v. Casey, Case No. 14SL-
     CR07287-01. (Deposition by telephone concerning interrogation, psychological coercion and
     false confessions.)
116. Iowa City, Iowa 5 October 2015, State of Iowa, vs. Tristan Alexander Loughran, Case No.
     FECR101523. (Suppression Hearing testimony by telephone concerning polygraph
     malpractice, interrogation, psychological coercion and false confessions.)
117. Coeur d’ Alene, Idaho, 3 December 2015, First Judicial District (Kootenai County), State of
     Idaho v. Daniel Abram Taylor, Case No. CR-2013-0024363. (Jury Trial, False Confessions).
118. Albuquerque, New Mexico, 21 January 2016 continued on 3 February 2016, United States
     District Court for the District of New Mexico, United States of America vs. Jamaico Tennison,
     No. 15-cr-00212 MCA. (Suppression Hearing, Polygraph misuse risking a false confession.)
119. Chicago, Illinois, 10 March 2016, United States District Court for the Northern District of
     Illinois Eastern Division, Nicole Harris v. City of Chicago, et al., No 14 C 4391. (Sworn
     deposition, polygraph malpractice resulting in false confession and wrongful conviction.)
120. Okinawa, Japan, 4 April 2016, ICO SSgt Allan A. Knight, USMC, Administrative Separation
     Board. (Screening Polygraph Tests and False Confessions).


                                               54 of 56




                                                                      Appendix 7, Page 68 of 71
     Case 6:20-cv-01163-MTK           Document 387-7         Filed 07/07/25      Page 69 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

121. Everett, Washington, 3 June 2016, Superior Court of the Sate of Washington in and for
     Snohomish County, State of Washington v. Andre Ash, Cause No. 15-1-00831-0. CrR 3.5
     hearing. (False Confessions in Polygraph Context).
122. Albuquerque, New Mexico, 29 July 2016 United States District Court for the District of New
     Mexico, United States of America vs. Melvin Russell, No. CR 14-2563 MCA. (Suppression
     Hearing, Polygraph misuse risking a false confession.)
123. Boise, Idaho, 31 August 2016, In RE: Fiddler’s Creek, LLC, v. Naples Lending Group, LS, and
     counterclaim, Naples Lending Group LC, v. Aubrey Ferrao, Anthony Dinardo, William Reagan,
     and Fiddler’s Creek, LLC, Case No.: 2:14-cv-379-FtM-29CM. United States District Court for the
     Middle District of Florida, Fort Meyers Division. Deposition. (Admissibility of Polygraph Test
     Results).
124. Brentwood, New Hampshire, 5 January 2017. State of New Hampshire v. Christine Tumulty,
     218-14-CR-00177. Testimony by video link. (Suppression hearing, polygraph and false
     confession)
125. Boise, Idaho, 12 October 2017. Second Judicial Court, County of Bernalillo, State of New
     Mexico. Jane Doe, Plantiff v.Stephen Cito, DDDS, LLC d/b/a/ Albuquerque Pediatric Dentistry
     and Stephen Cito, DDS Individually, Defendants. Deposition (Polygraph)
126. Brentwood, New Hampshire, 26 October 2017. State of New Hampshire v. Christine Tumulty,
     218-14-CR-00177. Testimony at jury trial by video link. (Interrogation and False Confessions)
127. Chicago, Illinois, 8 November 2017. United States District Court for the Northern District of
     Illinois Eastern Division, Nicole Harris v. City of Chicago, et al., No 14 C 4391. Testimony at
     jury trial. (Polygraph Malpractice)
128. Albuquerque, New Mexico, 21 August 2018. United States District Court for the District of
     New Mexico, United States of America vs. Tyrone Coriz, No. 1:17-CR-01105-JHC . (Suppression
     Hearing, Polygraph misuse risking a false confession.)
129. Santa Fe, New Mexico, 29 October 2018, First Judicial District Court, State of New Mexico vs.
     Eric Knee, D-101-CR-2016-00163. Motions Hearing requesting a new trial. (Polygraph).
130. Ava, Missouri, 4 March 2019, in the Circuit Court of Douglas County, State of Missouri, v.
     Crystal G. Boulay, 16OZ-CR00373-02. Daubert hearing concerning the impact of polygraph as
     a false evidence poly risking a false confession. (Polygraph misuse risking a false confession.
131. Grafton, New Hampshire, 24 July 2019, Grafton County Superior Court, State of New
     Hampshire v. Matthew B. Nelson, Case No. 215-2018-CR-00393. Suppression hearing
     (Polygraph misuse risking a false confession).
132. Raleigh, North Carolina, 12 September 2019, in the United States District Court for the
     Eastern District of North Carolina Wester Division. United States of America v. M.M.J., No.
     5:18-CR-74-1-D. Suppression Hearing (Polygraph misuse risking a false confession).
133. Boise, Idaho, 10 October 2019, in the United States District Court for the District of New
     Jersey, Emmanuel Mervilus, v. Union County, Daniel Vaniska, and John Kaminskas, Case No.
     2: 14-CV-07470. Deposition by video link. Polygraph malpractice.
134. Boise, Idaho, 18 October 2019, First Judicial District Court, State of New Mexico vs. Eric Knee,
     D-101-CR-2016-00163. 702 hearing regarding the State’s expert. (Polygraph).
135. Boise, Idaho, 24 October 2019, First Judicial District Court, State of New Mexico vs. Eric Knee,
     D-101-CR-2016-00163.702 continuation of hearing regarding the State’s expert. (Polygraph).
136. Santa Fe, New Mexico, 26 and 27 February 2020, First Judicial District Court, State of New
     Mexico vs. Eric Knee, D-101-CR-2016-00163.702, direct and surrebuttal testimony before the
     jury. (Polygraph).

                                               55 of 56




                                                                       Appendix 7, Page 69 of 71
     Case 6:20-cv-01163-MTK            Document 387-7         Filed 07/07/25      Page 70 of 71



Charles R. Honts, Ph. D.                                                         Curriculum Vitae

137. County of Hamilton, Indiana. 27 May 2020 continued on 18 June 2020, in The Hamilton
     Circuit Court, State of Indiana vs. Charles P. Truelove, Cause No. 29CO1-1809-F3-006660,
     direct testimony in a suppression hearing via Zoom. (Polygraph as a false evidence ploy).
138. Raleigh, North Carolina, 16 July 2020, in the United States District Court for the Eastern
     District of North Carolina Western Division by video-link. United States of America v. Juvenile
     Male (K.I.W), No. 5:18-CR-434-H. Suppression Hearing (Polygraph misuse risking a false
     confession).
139. Boise, Idaho, 13 September 2021, in the United States District Court for the Southern District
     of Idaho. United States v. Joseph Anthony Lee, 1:20-cr-00074-BLW. Sentencing Hearing.
     (Testimony in opposition to the admission of a poor quality polygraph examination).
140. Coeur D’Alene, Idaho, 14 June 2022, in the District Court of the First Judicial District of the
     State of Idaho. State of Idaho v. Ronald Dean Stone, Case No. CR28-19-4820. Testimony
     before the jury. (Interview Techniques, Memory and False Memory).
141. Phoenix, Arizona, 10 October 2022, Rodney Alger, Case Number JD40884. Sworn testimony in
     child custody hearing by video. (Misinterpreted polygraph examination).
142. Bethany, Missouri, 27 January 2023, State of Missouri vs. Charles D. Holson 19AJ-
     CR00181-02, Circuit Court of Harrison County, Missouri. Sworn testimony in a suppression
     hearing by video. (Polygraph malpractice resulting in a false confession.)
143. Boise, Idaho, 29 March 2023. Christopher Barbour, Plaintiff vs. John Hamm, Commissioner,
     Department of Corrections, et al., Defendants. Case No. 2:01-cv-612-ECM. Deposition in the
     United States District Court, Middle District of Alabama, Northern Division. (Via Zoom).
144. Boise, Idaho, 21 April 2023. State of Oregon v. Esequiel Garcia Ibarra, Case #: 21CR12206
     Marion County Circuit Court, Oregon. Sworn testimony in a motion to dismiss hearing.
     (Interrogation Techniques and False Confessions, Via Video Link)
145. Montgomery, Alabama, 28 June 2023. Christopher Barbour v. John Q. Hamm, 2:01-cv-612,
     United States District Court for the Middle District of Alabama. (Sworn testimony regarding a
     misinterpreted polygraph test.)
146. Boise, Idaho, 25 July 2023. Johnnie Lee Savory, vs. William Cannon as Administrator for the
     Estate of Charles Cannon et al. 17-CV-00204. United States District Court for the Northern
     District of Illinois, Eastern Division. Sworn deposition conducted via video link. (Concerning
     invalid polygraph techniques).
147. Boise, Idaho, 14 December 2023. Mark Maxson v. James Dwyer, et al., Case No 16-CV-09417,
     United States District Court for the Northern District of Illinois Eastern Division. Videotaped
     deposition conducted via video link. (Concerning interrogation techniques, polygraph tests and
     false confessions).
148. Payette, Idaho, 16 April 2024. State of Idaho v. Juan Viviano Solano, Case No. CR38-22-1422,
     in the District Court of the Third Judicial District of the State of Idaho, in and for the County
     of Payette. (Suppression Hearing, Interrogation Techniques and the Risk of False Confession)




                                                56 of 56




                                                                       Appendix 7, Page 70 of 71
  Case 6:20-cv-01163-MTK                       Document 387-7        Filed 07/07/25        Page 71 of 71



Charles R. Honts, Ph. D.
Polygraph Score Sheet
11/19/23
 Subject: Nicholas J. McGuffin             Date of Exam: 07-05-00
 Orig. Examiner: Mark D. Ranger
Evaluator: Charles R. Honts, Ph. D.
Date of Evaluation: November 19, 2023 1:24 PM

Chart 1                  Relevants
Measure          R5         R7                 R9                   Totals
Res                    1          1                 0                    2 Control Qs at C4, C6 & C8
EDR                    1          0                 0                    1 Scored to strongest
CDO                    2          2                 2                    6 control on chart
    Totals             4          3                 2           0        9


Chart 2
Measure          R5           R7               R9                   Totals
Res                    0              1             2                    3
EDR                    0              0             0                    0
CDO                    0              2             0                    2
    Totals             0              3             2           0        5


Chart 3
Measure          R5           R7               R9                   Totals
Res                    2               2             2                   6
EDR                    0               0             0                   0
CDO                    2              -2            -2                  -2
    Totals             4               0             0          0        4


Chart 4
Measure          R5           R7               R9                   Totals
Res                    2               1             1                   4
EDR                    0               1             0                   1
CDO                   -2              -2            -2                  -6
    Totals             0               0            -1          0       -1


Chart 5
Measure          R5           R7               R9                   Totals
Res                                                                      0
EDR                                                                      0
CDO                                                                      0
    Totals             0              0             0           0        0


                      8               6             3           0     17 Total Score




Page 1




                                                                               Appendix 7, Page 71 of 71
